                                                       Case 2:18-cv-02321-JCM-NJK Document 1 Filed 12/10/18 Page 1 of 58



                                                   1   PHILIP M. HYMANSON, ESQ.
                                                       Nevada State Bar No. 2253
                                                   2   HENRY JOSEPH HYMANSON, ESQ.
                                                   3   Nevada State Bar No. 14381
                                                       HYMANSON & HYMANSON
                                                   4   8816 Spanish Ridge Avenue
                                                       Las Vegas, NV 89148
                                                   5   (702) 629-3300 Telephone
                                                       (702) 629-3332 Facsimile
                                                   6   Phil@HymansonLawNV.com
                                                   7   Hank@HymansonLawNV.com

                                                   8   Attorneys for TEVA PARENTERAL MEDICINES, INC.,
                                                       formerly known as SICOR PHARMACEUTICALS, INC.;
                                                   9   SICOR, Inc.; BAXTER HEALTHCARE
                                                       CORPORATION; McKESSON MEDICAL-SURGICAL
                                                  10
                                                       INC.
                                                  11
                                                                            UNITED STATES DISTRICT COURT
HYMANSON & HYMANSON




                                                  12
                      8816 Spanish Ridge Avenue




                                                                                  DISTRICT OF NEVADA
                         Las Vegas, NV 89148




                                                  13
                            702.629‐3300




                                                  14   ABADJIAN, SOSSY; ACKERMAN,
                                                       GLORIA; ADARVE, VIRGINIA; ADLER,           CASE NO.:
                                                  15   FRANCIS; AGUILAR, CARMEN;
                                                       AGUILAR, NARCISO RENE; ALDER,
                                                  16   RHEA; ALLEN, GEORGE; ALLSHOUSE,            NOTICE OF REMOVAL
                                                       SOCORRO; ALPY, LINDA; ALVAREZ,
                                                  17   JOYCE; ANDERSON, REBECCA L.;
                                                       ANDREI, EMANUEL; ANTLES, TERRIE;
                                                  18   APPLETON-HULTZ, KELLIE;
                                                       ARCHULETA, ANTHONY; ARELLANOS,
                                                  19   ESTEBAN; ARIAS, RICKIE; ARKENBURG,
                                                       MARK; ARRIOLA, ROGER; ARTIGA,
                                                  20   MARIA; ASBERRY, ROBIN; BABCOCK,
                                                       WINIFRED; BACH , ROBERT; BACHAND,
                                                  21   SUSAN F.; BAGLEY-TENNER, ELAINE;
                                                       BAL, MELISSA; BALDRIDGE, BRYAN;
                                                  22   BARBEE, DOROTHY; BARKER, RONALD;
                                                       BARNCORD, RONALD; BARNES,
                                                  23   RUSSELL; BARNHART, PEGGY JO;
                                                       BARRALL, MADALYN; BARTLETT,
                                                  24   DONALD; BARTLETT, SHERYLE;
                                                       BAUDOIN, JOSEPH; BAXTER, BARBARA;
                                                  25   BEAMON, VENUS; BEATTY, BARBARA
                                                       ROBIN; BEHLINGS, RODNEY; BEJARAN,
                                                  26   CRISTINA; BENEDETTI, TOMAS;
                                                       BENFORD, VERNA; BENKERT,
                                                  27   RICHARD; BERGERON , MARSHALL;
                                                       BERGERON, DONNA; BIVONA, SYLVIA;
                                                  28   BLAIR, ROBERT; BLAKELEY, HARRY;
                                                                                              1
                                                       Case 2:18-cv-02321-JCM-NJK Document 1 Filed 12/10/18 Page 2 of 58



                                                   1   BLANCHARD, DAWN; BLOSS, BONNIE;
                                                       BOLAR, DARRELL; BOLDEN, ROY;
                                                   2   BOLDEN, SARAH; BOLEN, SCOT;
                                                       BONILLA, VICTOR; BOONE, JOHN;
                                                   3   BORRAYES, GRACIELA; BOWEN, BILLY;
                                                       BOWERS, SHIRLEY; BOWLES, BRIDGET;
                                                   4   BOYKINS, CATHY; BRADFORD,
                                                       BRENDA; BRADLEY, SHIRLEY; BRAUER,
                                                   5   CARLA; BROWN, CAROLYN; BROWN,
                                                       JACK; BROWN, KENNETH; BROWN,
                                                   6   LESLIE; BROWN, MICHAEL; BROWN,
                                                       ROBERTA; BRUNS, AMELIA B.;
                                                   7   BURCHARD, CARL L.; BURKS, TRACI;
                                                       BURTON, ELIZABETH; BUSTAMANTE-
                                                   8   RAMIREZ, ANGELITE; BUSTAMANTE,
                                                       ANASTASIO; BUSTAMANTE, MARIO;
                                                   9   BUTLER, DOROTHY ANN;
                                                       CALCATERRA, LEE; CALDERON,
                                                  10   ROBERT; CALLAHAN, SHEILA;
                                                       CAMPBELL, EVELYN; CAMPOLO, JOHN;
                                                  11   CAMPOS, MARIA; CANACARIS,
                                                       BOONYUEN; CANACARIS,
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                                                  12   CONSTANTINOS; CAPANDA, MELISSA;
                      8816 Spanish Ridge Avenue




                                                       CAPERELL, MARTIN; CARDONA, JAIME;
                         Las Vegas, NV 89148




                                                  13   CARDONA, PEDRO; CARNEY, SUSIE;
                            702.629‐3300




                                                       CARPENTER, JOHN; CARR, LESTER;
                                                  14   CARR, TERESA; CARRASCO,
                                                       BERNARDINO; CARTER, TRUMAN;
                                                  15   CASTO, XANDRA; CAUDLE, SPENCE;
                                                       CAUSEY, MARGARET; CEBALLOS,
                                                  16   XAVIER; CEDENO, ROBERT; CELANO,
                                                       HELAYNE; CELANO, VINCENT;
                                                  17   CENTENO, DINORA; CEPEDA,
                                                       GUADALUPE; CHASE, ROY; CHEA,
                                                  18   CARIDAD; CHEVEZ, ELSA; CHIGER,
                                                       MARK; CHILDS, LUCILLE; CIRCLE,
                                                  19   DONALD; CLARK, ALICIA; CLARK,
                                                       CAROL; CLARK, PATRICIA; COIRO,
                                                  20   RICHARD COLLINS, PERCELL JR.;
                                                       COMPTON, ROBERT; CONNER, ERNEST;
                                                  21   COOK, CLIFF; COREY, SUSAN; CORREA,
                                                       PATRICIA; COULOMBE, PAUL A.;
                                                  22   CRAWFORD, AMBER; CROCKER,
                                                       RONALD; CROCKETT, PAMELA; CROSS,
                                                  23   HOWARD; CROSSLEY, ROSSLYN;
                                                       DANIELS, WILLIAM R.; DAVIS, EVELYN;
                                                  24   DAVIS, MARY JEAN; DAVIS, VIRGINIA
                                                       A.; DAWSON, JESSIE L.; DELACRUZ,
                                                  25   DENISE M.; DELACRUZ, EMELYN;
                                                       DERAS, SILVIA; DEROSE, GREGORY;
                                                  26   DEVINE, SHERIDA; DIAMOND, CLAIRE;
                                                       DIAZ-PEREZ, JOSE; DIPIETRO, MARK;
                                                  27   DIXON, OTIS L.; DOLPIES, EMILIO;
                                                       DOMINGO, TAMARA; DOMINGUEZ,
                                                  28   PAMELA; DOMKOSKI, EUQENA;
                                                                                             2
                                                       Case 2:18-cv-02321-JCM-NJK Document 1 Filed 12/10/18 Page 3 of 58



                                                   1   DONATO, JOSEPH; DONIS, HUGO;
                                                       DONLEY, PATRICIA L.; DRAGANIC,
                                                   2   LJUBICA; DUCK, DELORIS K.; DUHS,
                                                       KATHLEEN J.; DUNCAN, LILLIAN;
                                                   3   DUSYK, HAROLD; DYER, ALLYSON R.
                                                       JR.; EASLEY, LOIS; ECHEVERRIA, DEISY;
                                                   4   EDMOND, DONNEDIA D.; ELAURIA,
                                                       ROLAND E.; ESCALA, DARIO E.;
                                                   5   ESCALA, ENGARCIA B.; ESCALERA,
                                                       KATHY A.; ESCOBEDO, MARIA.
                                                   6   ESPINOSA,TERESA I.; ESPOSITO,
                                                       ERNEST A.; EVANS, LEON; EVANS,
                                                   7   WILLIAM; EVERSOLE, JOHN J.;
                                                       FAULKNER, MARY; FEINGOLD,
                                                   8   ABRAHAM; FEINGOLD, MURIEL;
                                                       FENNELL, OSCAR; FERGUSON,
                                                   9   MARIETTA; FERGUSON, WILLIE;
                                                       FERRANTE, DANIEL; FICKLIN,
                                                  10   CAROLYN; FILBECK, JOE; FINEBERG,
                                                       ETHEL; FINN, MADELINE C.; FITCH,
                                                  11   ALBERT L.; FLORES, ADRIAN; FLORES,
                                                       MARIA; FOLKENFLIK, RONALD;
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                                                  12   FOREMASTER, RAUNA; FOSTER,
                      8816 Spanish Ridge Avenue




                                                       JOSEPH E.; FOSTER, PHYLLIS G.;
                         Las Vegas, NV 89148




                                                  13   FRAZIER, CYNTHIA D.; FREEMAN,
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                                                       VICTORIA; FRIEL, LAWRENCE; FRIESEN,
                                                  14   BONITA M.; FRILLARTE, NESS; FRISBY,
                                                       NANCY C.; GAINES, JODI; GALLEGOS,
                                                  15   ESPERANZA; GALLEGOS, NEOHMI;
                                                       GARAY, LUIS; GARCIA, BRENDA;
                                                  16   GARCIA, MARTHA; GARDNER, SANDRA;
                                                       GARVEY, MICHAEL; GASS, LOIS;
                                                  17   GELLENS, JEREMY; GEOGHEGAN,
                                                       MARION; GEORGE, THERESA;
                                                  18   GIANNOPOULOS, TINA;
                                                       GIANNOPOULOS, ARIS; GILBERT,
                                                  19   WANDA; GLENN, GREGORY; GOLDEN,
                                                       JEAN; GOLDEN-LEWIS, TYRA; GOLOB,
                                                  20   LUCIANO; GOMEZ; CARRILLO,
                                                       MARGARITO; GONZALES, PASTOR;
                                                  21   GONZALEZ-TORRES, JESUS; GORDY, TJ;
                                                       GOTLIEB, JEFF; GOUDY, ALLEN;
                                                  22   GRAHAM, ANNETTA; GRATTAN, BILL;
                                                       GRAY, ARNOLD; GRAY, BONNIE;
                                                  23   GREEN, DOROTHY; GREEN, TANIA;
                                                       GREGORICH, ROY; GRESSER, JEFFREY;
                                                  24   GRIFFIN, WILLIE; GRIMBLOT, ROBERT;
                                                       GRIMES, VERNA; GRIMM, CYNTHIA;
                                                  25   GRIMM, ROBERT; GRONNA, PATRICK;
                                                       GUERETTE, CARL; GUEVARA,
                                                  26   CANDELARIO; GULLI, NICHOLAS;
                                                       GUTIERREZ, JULIA; HACHEZ, DENISE F.;
                                                  27   HADJES, SUE; HAL, ESTHER I.; HALL,
                                                       FRANK J.; HALL, TINA; HAMBLIN,
                                                  28   CHARDAI C.; HAMILTON, ROBERT JR.;
                                                                                               3
                                                       Case 2:18-cv-02321-JCM-NJK Document 1 Filed 12/10/18 Page 4 of 58



                                                   1   HANCOCK, DEBORAH; HARO, JESSICA
                                                       M.; HARPER, JOANN; HARRINGTON,
                                                   2   ANNA C.; HARRINGTON, MICHAEL S.;
                                                       HARRIS, DORIS; HARRISON, GLORICE;
                                                   3   HARRISON, SHARA; HARRISON-
                                                       CARTER, PATRICIA; HARSHMAN-
                                                   4   TALBERT, BRIANNA S.; HARTLEY,
                                                       RONALD K.; HARWOOD, ROBERT;
                                                   5   HAUGEN-RATTAZZI, LINDA K.;
                                                       HAYASHI, ESTHER A.; HAYES, SAMUEL;
                                                   6   HEIN, SUSETTE A.; HENDERSON-
                                                       SHEPHERD, NITA; HENNICK, ROY M.;
                                                   7   HENSON, JUANITA; HEREDIA, LUCIA;
                                                       HERNANDEZ, CANDIDO; HERNANDEZ,
                                                   8   MARCIAL A.; HERNANDEZ, MARIA;
                                                       HERROLD, THOMAS; HERRON, LUZ;
                                                   9   HILL, SUSAN M.; HINER, ISHEKA;
                                                       HOARD, ARLENE; HOBBS, BETH;
                                                  10   HOLLIS, MICHELLE; HOLMES,
                                                       JAQUELINE A.; HOOKER, JOSHUA;
                                                  11   HOOVER, WILLIE; HOPPINS, PATRICIA;
                                                       HORVATH BELVIA; HORVATH, JAMES;
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                                                  12   HOSTLER, ANA; HOULE, AUGUSTAVE;
                      8816 Spanish Ridge Avenue




                                                       HOVIETZ, CARL II; HOWARD, RUTH;
                         Las Vegas, NV 89148




                                                  13   HOWELL, ROBERT E.; HOWFORD,
                            702.629‐3300




                                                       MICHELE; HUEBNER, EDWARD L.;
                                                  14   HUGHES, LOVETTE M.; HUNTER,
                                                       VIRIGINIA M.; HURTADO-MIGUEL,
                                                  15   PATRICIA; HWANG, HO NAN; HYYPPA,
                                                       ANGELA; IBARRA, JANETTE; INFUSO,
                                                  16   JOSEPH; INTERDONATI, FRANK; IREY,
                                                       BRIAN; JACKSON, BARRY; JACKSON,
                                                  17   CECIL; JACKSON, DORA; JARAMILLO,
                                                       ROLANDO; JILES, RICHARD; JILES,
                                                  18   LETHA; JOHNSON, CLIFTON; JOHNSON,
                                                       DORIS; JOHNSON, EUGENE; JOHNSON,
                                                  19   JOHNNY; JOHNSON, JOYCE; JOHNSON,
                                                       WILLIAM; JONES, ARNOLD;
                                                  20   KABADAIAN, ANN; KALETA, ANTHONY
                                                       K.; KAPOOR, ARUN; KEELER, LINDA J.;
                                                  21   KEELING, SHARON; KELLY, MICHAEL
                                                       F.; KEYES, RAYANN J.; KIDD , DARRELL;
                                                  22   KIM, CONNIE; KIM, SOO-OK; KIM,
                                                       TAESOOK; KIMBERS, SONDRA I.;
                                                  23   KINDLER, ELIZABETH I.; KING, IRIS L.;
                                                       KING, LARRY D.; KOCEJA, RAYMOND
                                                  24   E.; KOENEN, TRACEY; KOENIG,
                                                       JOANNA; KOH, PATRICK; KOPANSKI,
                                                  25   MICHAEL; KRACHENFELS, MICHAEL J.;
                                                       KRAMER, CORINNE M.; KROITOR,
                                                  26   DAVID; KUNIK, OLGA; KUNZIG, KAREN
                                                       A.; LAFOUNTAIN, ANEITA; LAKE,
                                                  27   BARBARA; LAMPMAN, KRYSTAL;
                                                       LANG, DARSEL; LARSON, JONATHAN;
                                                  28   LAUREL, BERTHA; LAURON, ANGES G.;
                                                                                               4
                                                       Case 2:18-cv-02321-JCM-NJK Document 1 Filed 12/10/18 Page 5 of 58



                                                   1   LAWSON, MARIE; LEBLANC, PHYLLIS;
                                                       LEEMAN-ROSS, BETTY J.; LETANG,
                                                   2   ARLENE; LEV, JANE; LEWIS, JAMES A.;
                                                       LIEBSCHUTZ, JOAN; LIM, MINERVA L.;
                                                   3   LIMES, DEBRA; LINDSEY, EDWARD;
                                                       LINETSKY, SETH; LISTA, EMILIO D.;
                                                   4   LITTLE, WILLIAM; LIVINGSTON-STEEL,
                                                       DOROTHY; LOPEZ, FELISA; LOPEZ,
                                                   5   IRAIDA; LOPEZ, MARTHA; LOPEZ, NOE;
                                                       LOPEZ, TONEY E.; LOPRESTO,
                                                   6   FRANCINE R.; LUCAS, FLORENCE;
                                                       LUTHER, DARLENE; LYLES, FRANK L.;
                                                   7   MACLEAN, STERPHANIE; MADRID,
                                                       DEBORAH; MAGILL, LORI; MAIWAND**,
                                                   8   MARWA; MAJOR, DOROTHY J.;
                                                       MALDONADO, MARGUERITE;
                                                   9   MALDONADO, MARIO; MALWITZ, IDA;
                                                       MANUEL, AUDREY; MARES, GABRIEL;
                                                  10   MAROHL, ROBERT; MARQUEZ, CAROL
                                                       A.; MARTIGANI, BRENDA; MARTIN LEE,
                                                  11   TERRI L.; MARTIN, LEONARD A.;
                                                       MARTIN, TERRI L.; MARTINEZ, HUGO;
HYMANSON & HYMANSON




                                                  12   MARTINEZ, JORGE B.; MARTINEZ, JOSE;
                      8816 Spanish Ridge Avenue




                                                       MARZULLI, GRACE; MASCARI, MARY
                         Las Vegas, NV 89148




                                                  13   LOUISE; MASTRIAN, LUCY; MATTI,
                            702.629‐3300




                                                       FATIN; MAYS, LEROY; MAYS, LISA;
                                                  14   MCCALL, TERRY; MCCALL, VIRGINIA
                                                       A.; MCCLAIN, LETTA; MCCLINTON,
                                                  15   ALFRED; MCCRAY, STELLA;
                                                       MCDANIEL, LAURENCE; MCDAVID,
                                                  16   JOHN JR.; MCDONALD, DAVID;
                                                       MCDONNELL, DOLORES; MCGEE,
                                                  17   DENISE ANNE; MCKINNEY, MAE;
                                                       MCKNIGHT, JANET; MCMILLEN, FRED
                                                  18   III; MEACHAM, MYRON; MEJIA,
                                                       KELLEY; MEKHJIAN, AIDA A.; MELLOR,
                                                  19   CHELSEY L.; MENDOZA, JIGGERSON;
                                                       MERRELL-CLAPP, SUSAN; MIDDAUGH,
                                                  20   JAMES; MILBURN, SYLVIA; MILLER,
                                                       CORINNE; MITCHELL, GERALD;
                                                  21   MITCHELL, JANICE; MITCHELL,
                                                       OLIVER; MIZHIRITSKY, MIKHAIL;
                                                  22   MOLITOR, KIRK; MOODY, STEVEN;
                                                       MOORE, MARY; MORA, JOSE; MORALES,
                                                  23   YOLANDA; MORALES; CASTRO,
                                                       ELIZABETH; MORCIGLIO,YOLANDA;
                                                  24   MORENO, BIVETTA; MORGAN, DAVID;
                                                       MORGAN, DENISE M.; MORGAN,
                                                  25   DOUGLAS; MORGAN, SONIA; MORICI,
                                                       ANDREW; MORRIS, BARRY; MORRIS,
                                                  26   JAMES; MORRIS, JUANITA E.; MORSE,
                                                       MICHELE; MORTENSEN, DAN R.;
                                                  27   MOSQUEDA, MIGDALIA; MOTOLA,
                                                       ANDREA; MUNA, ANNIE; MUNGER,
                                                  28   JUDITH A.; MUNGUIA, LUCILA;
                                                                                             5
                                                       Case 2:18-cv-02321-JCM-NJK Document 1 Filed 12/10/18 Page 6 of 58



                                                   1   MURANYI, DIANE MURRAY, WILLIE;
                                                       MUSCARA, DIOSELINA; NAGY, JOSEPH;
                                                   2   NAJARRO, JOSE A.; NAKONECZNY,
                                                       BONNIE; NANOD, THANG; NATINGA,
                                                   3   ERLINDA; NAVARRO-ORTIZ, MARIA;
                                                       NELSON, LEEANNE; NEVINS, DANIEL;
                                                   4   NEWELL, LANITA; NOGA, PAUL;
                                                       NORLIN, ROSEMARIE; NOVOTNY,
                                                   5   RONALEE; NYDEN, MARSHALL;
                                                       OBERSHAW, WADE; O'CONNELL,
                                                   6   JOSEPH; O'FARRIL, LUCIO F.;
                                                       O'HALLORAN, SHAWN; OKU, ANDREW;
                                                   7   OLIVA, DIGNA; O'MARA, JOHN; O'NEAL,
                                                       NORMA J.; ORCULLO, LINDA; OROZCO-
                                                   8   GALAN, PAULA; PACHECO, ANGELA;
                                                       PANKHURST, DENIS; PARATORE, MATT;
                                                   9   PARK, ROBERT; PARKINSON, KATHY;
                                                       PAZOS, JESUS; PEARCE, MARILYN;
                                                  10   PECCORINI, TERESA; PEDRO, PHYLLIS;
                                                       PENA, JOSE O.; PEOPLES, PATRICIA;
                                                  11   PERDOMO, DELMY C.; PEREZ, DORA;
                                                       PEREZ, LOUISE; PEREZ, LUIS; PEREZ,
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                                                  12   MARIA; PEREZ, MERCEDES; PEREZ-
                      8816 Spanish Ridge Avenue




                                                       ROQUE, AGUSTIN; PERRET, ANDRE;
                         Las Vegas, NV 89148




                                                  13   PERRY, JANET P.; PETERSON, ALAN K.;
                            702.629‐3300




                                                       PHILIP, LOWELL; PHILIP, MICHELLE;
                                                  14   PICARD, CRAIG; PINSKER, DONALD;
                                                       PITMAN, JASON B.; PITTMAN, WAYNE;
                                                  15   PODROUZEK, JEFF; POLILLO, ROGER;
                                                       POLINSKI, RON; PORTER, JUDY;
                                                  16   POURTEYMAUR, MOHAMMED;
                                                       POWERS, DONNA; POWERS, EVA;
                                                  17   POWERS, JENNIFER; PRICE, DOUGLAS;
                                                       PRICE, IVOR; PRIETO, JOSE; PRIETO,
                                                  18   LUISA; PRUSSIN, ELY; QUINTERO,
                                                       FRANCISCO; QUIROZ, ANTHONY RAY;
                                                  19   RABADAN, MARIBEL; RAGAZZO,
                                                       MARIO; RAMIREZ , ADRIANA;
                                                  20   RAMIREZ, JOHN; RAMIREZ, RAUL;
                                                       RANSOM, EDWARD; RAPOSA, ROBERT;
                                                  21   RATTAZZI, DEVIN; REDDING, CANTICE
                                                       M.; REED, KAREN; REYES , HELEN;
                                                  22   REYES DE MEDINA, CELIA; REYES,
                                                       GABRIEL; REYES, MIGUEL; RICE,
                                                  23   MICHAEL; ROBERSON, LESTER;
                                                       ROBERTS, BARBARA; ROBINSON,
                                                  24   CONSTANCE; ROBINSON, LLOYD H.;
                                                       ROBY, CONNIE; ROCHESTER,
                                                  25   ANTOINETTE; RODGERS, VICKI;
                                                       RODGERS, TREVA; RODRIGUEZ, MARIA;
                                                  26   RODRIGUEZ, NENITA; RODRIGUEZ,
                                                       RICARDO; RODRIGUEZ, YOLANDA;
                                                  27   RODRIGUEZ-RAMIREZ, JOSE; ROGERS,
                                                       FREEMAN; ROGGENSEE, CAROLE;
                                                  28   ROJAS, SONIA; ROMANO, JOSEPH;
                                                                                             6
                                                       Case 2:18-cv-02321-JCM-NJK Document 1 Filed 12/10/18 Page 7 of 58



                                                   1   ROSE, JEAN; RUCKEY, GWENDOLYN;
                                                       RUSSELL, ROSETTA; SADDLER,
                                                   2   DEMETRY; SALAS, JANISANN;
                                                       SALCEDO, MARIA; SALGUERO,
                                                   3   FRANCISCO; SANDERS, KERRI;
                                                       SANDERS, LOVIE; SAUNDERS, PAUL;
                                                   4   SAUNDERS, SHERRILYN; SAWYER,
                                                       DANNY; SCHILLING, ISA; SCHLAPPI,
                                                   5   SHAUN; SCHROEDER, STEPHEN;
                                                       SCHULMAN, JEFFREY; SEAY, RAY;
                                                   6   SENNESS, SANDRA; SERGIO, ANTHONY
                                                       JR.; SFORZA, MAURICE; SHANKLIN,
                                                   7   SYLVIA; SHANKS, JULIE; SHEARER,
                                                       DOUGLAS; SIMKO, SANDRA; SIPPLE,
                                                   8   MYRTLE; SKINNER, CHARLES; SLATER,
                                                       JAMES; SLAUGHTER, JACKLYN;
                                                   9   SLAUGHTER, JOHN; SLONE, JOHN;
                                                       SMITH, CATHERINE; SMITH, WILBUR;
                                                  10   SNYDER, LILA; SOBIESKI, DOLORES;
                                                       SOCORRO, MICHELLE; SOMMER,
                                                  11   WAYNE; SOTO, MARIA; SOUSSANA,
                                                       VIDANA; SPAINHOUR, JULIE;
HYMANSON & HYMANSON




                                                  12   SPANGLER, JESSICA; SPARKS,
                      8816 Spanish Ridge Avenue




                                                       PATRICIA; SPARKS, SANDRA;
                         Las Vegas, NV 89148




                                                  13   SPELLMAN, PATRICIA; STANFORD,
                            702.629‐3300




                                                       JEFFREY; STANKARD, WILLIAM;
                                                  14   STANLEY, GINGER; STEWART,
                                                       RODNEY; STOKLOSA, WALTER;
                                                  15   STROHECKER, LETICIA; STROMGREN,
                                                       HAROLD; SUDO, MAFALDA; SWAIN,
                                                  16   BARBARA; TADEO, NORMA;
                                                       TARNOWISKI , MIRKA; TARNOWSKI,
                                                  17   RYSZARD; TASH, ROXANNE E.;
                                                       TAYLOR, JILL; THIBEAULT, JEANNE;
                                                  18   TITUS-PILATE, CATHERINE; TOPPLE,
                                                       RAYMOND; TORIBIO, DOMINGA;
                                                  19   TORRES, YADEL; TOWNSLEY, RITA M.
                                                       TRAFTON, ROSELYN; TROMELLO,
                                                  20   SALVATORE; TROPP, PATRICIA A.;
                                                       TUCKOSH, DOROTHY; TURNER, LUCY;
                                                  21   TURNER, TERRY; TUZINSKI, ROBERT;
                                                       UNRUH, WILLIAM; VALLS, JESUS;
                                                  22   VALONE, DIANNE; VANCE, GILBERT;
                                                       VANDERGAAG, HILLEGONDA; VELEY,
                                                  23   HENRY; VILLEGAS, STELLA; VIRGIL,
                                                       LOUIS; VITAL-CEDENO, CECILIA; VOLK,
                                                  24   COLLEEN; VORGIAS, CHRIST;
                                                       WADLOW, WILLIAM; WAGNER, BETTY;
                                                  25   WALTERS, JOHN; WALTON , JASON;
                                                       WAMPOLE, JANICE; WARD, BARBARA;
                                                  26   WARD, GLORIA; WARIS, SANDRA;
                                                       WATKINS, ELIZABETH; WEDDINGTON,
                                                  27   LESTER; WEISNER, ARLENE; WHEELER,
                                                       KATHRYN; WHITE, DEBRA; WHITE,
                                                  28   FRANK E.; WHITE, SERENE; WHITE,
                                                                                             7
                                                       Case 2:18-cv-02321-JCM-NJK Document 1 Filed 12/10/18 Page 8 of 58



                                                   1    SHARON; WILKINS, BRIDGET;
                                                        WILLIAMS, ACE K.; WILLIAMS,
                                                   2    ANTHONY; WILLIAMS, AUBREY;
                                                        WILLIAMS, CHARLES; WILLIAMS,
                                                   3    CHERYL; WILLIAMS, MARY; WILLIAMS,
                                                        REALINDA; WILLIAMS, WILLIE;
                                                   4    WILSON, GARY; WILSON, ROBERT;
                                                        WILT, STEVEN; WINSLOW, ANGELA;
                                                   5    WINTEROWD, BEVERLY; WINTERS,
                                                        BETTY; WOLF, JAMES; WORTHY,
                                                   6    DEREK, individually,
                                                   7                   Plaintiffs,
                                                   8    v.
                                                   9    TEVA PARENTERAL MEDICINES, INC.,
                                                        formerly known as SICOR
                                                  10    PHARMACEUTICALS, INC.; SICOR, Inc., a
                                                        Delaware Corporation; BAXTER
                                                  11    HEALTHCARE CORPORATION,
                                                        a Delaware Corporation; McKESSON
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                                                  12    MEDICAL-SURGICAL INC., a Delaware
                      8816 Spanish Ridge Avenue




                                                        Corporation,
                         Las Vegas, NV 89148




                                                  13
                            702.629‐3300




                                                                       Defendants.
                                                  14

                                                  15
                                                       TO:     THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEVADA
                                                  16
                                                               Defendants TEVA PARENTERAL MEDICINES, INC. (“TPM”), formerly known as
                                                  17
                                                       SICOR        PHARMACEUTICALS,            INC.;      SICOR,   Inc.;   BAXTER      HEALTHCARE
                                                  18
                                                       CORPORATION (“BAXTER”); McKESSON MEDICAL-SURGICAL INC. “(MCKESSON”)
                                                  19
                                                       (collectively “Defendants”) hereby notice the removal of this action to the United States District
                                                  20
                                                       Court, and, in support thereof, state as follows:
                                                  21
                                                               1.     Defendants are the defendants in the above-entitled action commenced in the Eighth
                                                  22
                                                       Judicial District Court, in and for Clark County, Nevada, as Case No. A-18-781820-C, and now
                                                  23
                                                       pending in that court (“State Court Action”).
                                                  24
                                                               2.     Plaintiffs commenced the State Court Action by filing a complaint (“Complaint”)
                                                  25
                                                       on September 27, 2018.
                                                  26
                                                               3.     Service of the Complaint upon Defendant TEVA PARENTERAL MEDICINES,
                                                  27
                                                       INC., formerly known as SICOR PHARMACEUTICALS, INC. was effected on November 21,
                                                  28
                                                                                                           8
                                                       Case 2:18-cv-02321-JCM-NJK Document 1 Filed 12/10/18 Page 9 of 58



                                                   1   2018. Service of the Complaint upon Defendant BAXTER HEALTHCARE CORPORATION was
                                                   2   effected on November 20, 2018.          Service of the Complaint upon Defendant McKESSON
                                                   3   MEDICAL-SURGICAL INC., was effected on November 21, 2018. Service has not been effected
                                                   4   on Defendant SICOR, Inc.
                                                   5            4.    The Complaint alleges claims for 1) strict product liability; 2) breach of the implied
                                                   6   warranty of fitness for a particular purpose; 3) negligence; 4) violation of the Nevada deceptive
                                                   7   trade practices act; and 5) punitive damages. Plaintiffs pray for relief for general damages, “in
                                                   8   excess of $15,000.” Plaintiffs also pray for unspecified special damages according to proof,
                                                   9   attorney’s fees and costs, and punitive damages according to proof.
                                                  10            5.    No further proceedings have been had in this matter in the Eighth Judicial District
                                                  11   Court.
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                                                  12            6.    Thirty days have not elapsed since Defendants were served with the complaint in
                      8816 Spanish Ridge Avenue
                         Las Vegas, NV 89148




                                                  13   this action.
                            702.629‐3300




                                                  14                                    DIVERSITY OF CITIZENSHIP
                                                  15            7.    This Court has original jurisdiction pursuant to 28 U.S.C. § 1332(a) and this action
                                                  16   may be removed to this Court by Defendants pursuant to 28 U.S.C. §1441(a) and (b) in that it is a
                                                  17   civil action between citizens of different states and the matter in controversy exceeds the sum of
                                                  18   $75,000 for each plaintiff, exclusive of interests and costs.
                                                  19            8.    Defendants TEVA PARENTERAL MEDICINES, INC., formerly known as SICOR
                                                  20   PHARMACEUTICALS, INC., and SICOR, Inc. are incorporated in the State of Delaware, with its
                                                  21   principal place of business in the State of California;
                                                  22            9.    Defendant BAXTER HEALTHCARE CORPORATION, is incorporated in the
                                                  23   State of Delaware, with its principal place of business in the State of Illinois;
                                                  24            10.   Defendant McKESSON MEDICAL-SURGICAL INC., is incorporated in the State
                                                  25   of Virginia, with its principal place of business in the State of Virginia.
                                                  26            11.   Plaintiffs (“Plaintiffs”), are listed in the Complaint as residents of Clark County,
                                                  27   Nevada.
                                                  28
                                                                                                           9
                                                       Case 2:18-cv-02321-JCM-NJK Document 1 Filed 12/10/18 Page 10 of 58



                                                   1          12.     Based on information and belief, there is now and there was at the time of the
                                                   2   commencement of this action complete diversity between Plaintiffs and Defendants.
                                                   3          13. The sum of the damages alleged by Plaintiffs necessarily exceeds $75,000 for each
                                                   4   plaintiff, exclusive of interest and costs.1 Specifically, Plaintiffs are seeking punitive damages.
                                                   5   “Punitive damages may be considered in determining the requisite jurisdictional amount.”
                                                   6   Woodman of the World Life Ins. Soc’y v. Manganaro, 342 F.3d 1213, 1218 (10th Cir. 2003).
                                                   7          14.     Based on the above, adequate grounds exist to remove the Complaint to this Court
                                                   8   based on diversity of citizenship pursuant to 28 U.S.C. § 1332(a).
                                                   9                               FEDERAL QUESTION JURISDICTION
                                                  10          15.     This Court may additionally and/or alternatively exercise jurisdiction over this
                                                  11   matter pursuant to 28 U.S.C. §§ 1331 and 1367. Plaintiffs’ claims are removeable because they
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                                                  12   necessarily raise a substantial and disputed question of federal law. In addition, all remaining claims
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                         Las Vegas, NV 89148




                                                  13   are removable subject to the Court’s supplemental jurisdiction.
                            702.629‐3300




                                                  14          16.     The Supreme Court has held that state-law claims are removable under federal
                                                  15   question jurisdiction pursuant to 28 U.S.C. § 1331 where they “necessarily raise a stated federal
                                                  16   issue, actually disputed and substantial, which a federal forum may entertain without disturbing
                                                  17   any congressionally approved balance of federal and state judicial responsibilities. Grable & Sons
                                                  18   Metal Prods., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308, 314 (2005).
                                                  19          17.     Federal jurisdiction exists where a state law claim necessarily involves the
                                                  20   construction or application of federal law. See, e.g. D’Alessio v. New York Stock Exchanging, Inc.,
                                                  21   258 F.3d 93, 99 (2d Cir.2001)(“[A] case is deemed to ‘arise under’ federal law ‘where the
                                                  22   vindication of a right under state law necessarily turn[s] on some construction of federal law.’”)
                                                  23   (alteration in original)(quoting Franchise Tax Bd. V. Constr. Laborers Vacation Trust, 463 U.S. 1,
                                                  24   9 (1983)).
                                                  25
                                                       1
                                                         Defendants note that they are not required to, nor do they, concede that Plaintiffs are entitled to
                                                  26   recover more than $75,000. See Kelderman v. Remington Arms Co., 734 F.Supp.1527, 1528 (S.D.
                                                       Iowa 1990) (rejecting a plaintiff’s attempt to “place [a] defendant in the awkward position of
                                                  27   embracing a concession on the important issue of damages,” to establish jurisdiction, noting that a
                                                       “defendant need not go that far”). Indeed, Defendants specifically deny that Plaintiffs are entitled
                                                  28   to recover any damages.
                                                                                                          10
                                                       Case 2:18-cv-02321-JCM-NJK Document 1 Filed 12/10/18 Page 11 of 58



                                                   1           18.     In addition, this Court has original and removal jurisdiction over civil actions, such
                                                   2   as this one, that arise “under the Constitution, laws, or treaties of the United States.” 28 U.S.C §
                                                   3   1331, 1441(a). Among the civil actions that “arise under” federal law are “state-law claims that
                                                   4   implicate significant federal issues.” Grable 545 U.S. at 312. Such claims capture the
                                                   5   “commonsense notion that a federal court ought to be able to hear claims recognized under state
                                                   6   law that nonetheless turn on substantial questions of federal law, and thus justify resort to the
                                                   7   experience, solicitude, and hope of uniformity that a federal forum offers on federal issues.” Id.
                                                   8           19.     Thus, federal question jurisdiction also exists where, as here, a “state law claim
                                                   9   necessarily raise[s] a stated federal issue, actually disputed and substantial, which a federal forum
                                                  10   may entertain without disturbing any congressionally approved balance of federal and state judicial
                                                  11   responsibilities.” Id. at 314.
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                                                  12           20.     The claims asserted in the Complaint meet both of these standards for federal
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                         Las Vegas, NV 89148




                                                  13   question jurisdiction. Although the Complaint is sparse on the actual legal basis of its claims, the
                            702.629‐3300




                                                  14   essence of the complaint is that Defendants improperly packaged and distributed propofol.
                                                  15           21.     The packaging of propofol is regulated by the U.S. Food and Drug Administration
                                                  16   (“FDA”) specifically, 21 Code of Federal Regulation (“CFR”) § 211, which lays out the “minimum
                                                  17   current good manufacturing practice for preparation of drug products . . . for administration to
                                                  18   humans or animals.”
                                                  19           22.     CFR 211.130 states, “(t)here shall be written procedures designed to assure that
                                                  20   correct labels, labeling, and packaging materials are used for drug products; such written
                                                  21   procedures shall be followed.” “(I)t is a requirement under Current Good Manufacturing Practices
                                                  22   that every drug manufacturer and/or processor develop and follow detailed written procedures for
                                                  23   all aspects of the production, testing, storage, labeling and distribution of any and all of its drug
                                                  24   products.” U.S. v. Richlyn Laboratories, Inc., 822 F.Supp. 268, 272 (E.D. Pa. 1993). In U.S. v.
                                                  25   Richlyn Laboratories, Inc. the court initially granted a preliminary injunction and later a permanent
                                                  26   injunction enjoining a drug manufacturer from “manufacturing, processing, packaging and
                                                  27   distributing their drug products until such time as they are in full compliance with Current Good
                                                  28   Manufacturing Practices.” Id. at 273.
                                                                                                         11
                                                       Case 2:18-cv-02321-JCM-NJK Document 1 Filed 12/10/18 Page 12 of 58



                                                   1          23.     Here, the core of the Complaint alleges that the manner in which Defendants’
                                                   2   generic propofol was manufactured and/or packaged – processes which are strictly regulated by the
                                                   3   FDA – nevertheless violated Nevada State laws. However, the United States Supreme Court has
                                                   4   held in PLIVA, Inc. v. Mensing and its progeny that the federal government has exclusive authority
                                                   5   to regulate the packaging of pharmaceutical drugs, and the Supremacy Clause preempts state laws
                                                   6   purporting to place burdens upon drug manufactures that are in conflict with federal regulations.
                                                   7   564 U.S. 604 (2011). Questions concerning the application of FDA regulations to Defendants’
                                                   8   propofol, whether Defendants complied with the same, and whether those regulations are in
                                                   9   harmony with state law comprise the essence of Plaintiffs’ claims. Accordingly, the core of the
                                                  10   Complaint “necessarily raise[s] a stated federal issue, actually disputed and substantial” and is
                                                  11   therefore removable as it presents a federal question. Grable, 545 U.S. at 314.
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                                                  12          24.     Moreover, Defendants are generic manufacturers of propofol and therefore
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                         Las Vegas, NV 89148




                                                  13   governed by 21 U.S.C. § 355 and 21 C.F.R. § 314. Specifically, a manufacturer that seeks approval
                            702.629‐3300




                                                  14   of a generic drug, such as Defendants herein, is responsible for ensuring that its warning label is
                                                  15   the same as the brand name's. Mensing, 564 U.S. at 613 (citing § 355(j)(2)(A)(v); § 355(j)(4)(G);
                                                  16   21 CFR §§ 314.94(a)(8), 314.127(a)(7)). The requirement that a generic manufacturer keep its label
                                                  17   identical to the FDA-approved brand drug’s label is referred to as the duty of “sameness.” Mensing,
                                                  18   564 U.S. at 613, 616. This doctrine applies to every portion of Plaintiffs’ complained-of conduct,
                                                  19   including the labeling, warnings, route of administration, dosage form, and strength. See 21 C.F.R.
                                                  20   § 314.94(a)(6); 21 U.S.C. § 355(j)(2)(iii). In each case, Defendants were required by federal law to
                                                  21   make their generic propofol identical to the brand name version, subject to certain limited
                                                  22   exceptions not alleged by Plaintiffs to be at issue here. This is yet another independent reason why
                                                  23   the core of the Complaint “necessarily raise[s] a stated federal issue, actually disputed and
                                                  24   substantial” and is therefore removable as it presents a federal question. Grable, 545 U.S. at 314.
                                                  25          25.     The Complaint also attempts to attack the size of the generic propofol vials sold and
                                                  26   distributed by Defendants by inarticulately arguing that Defendants should have simply stopped
                                                  27   selling the 50 mL vials. However, the stop-selling theory is extensively discussed and rejected by
                                                  28   the U.S. Supreme Court in Mutual Pharmaceutical Co., Inc. v. Bartlett, 570 U.S. 472, 488-490
                                                                                                  12
                                                       Case 2:18-cv-02321-JCM-NJK Document 1 Filed 12/10/18 Page 13 of 58



                                                   1   (2013). In Bartlett, the Supreme Court attacked the Court of Appeals reasoning that Mutual could
                                                   2   “escape the impossibility of complying with both its federal - and state law duties by ‘choos[ing]
                                                   3   not to make [sulindac] at all.’” Id. at 488 (internal citation omitted). The Bartlett Court went on to
                                                   4   state, “(t)he incoherence of the stop-selling theory becomes plain when viewed through the lens of
                                                   5   our previous cases. In every instance in which the Court has found impossibility pre-emption, the
                                                   6   ‘direct conflict’ between federal – and state-law duties could easily have been avoided if the
                                                   7   regulated actor had simply ceased acting.” Id. The Supreme Court concludes its analysis of the stop
                                                   8   selling theory by stating, “(j)ust as the prospect that a regulated actor could avoid liability under
                                                   9   both state and federal law by simply leaving the market did not undermine the impossibility analysis
                                                  10   in PLIVA, so it is irrelevant to our analysis here.” Id. at 489-490. Again, this is another independent
                                                  11   reason why the core of the Complaint “necessarily raise[s] a stated federal issue, actually disputed
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                                                  12   and substantial” and is therefore removable as it presents a federal question. Grable, 545 U.S. at
                      8816 Spanish Ridge Avenue
                         Las Vegas, NV 89148




                                                  13   314.
                            702.629‐3300




                                                  14           26.     This Court has “supplemental jurisdiction over all other claims that are so related to
                                                  15   the claims in the action within [the Court’s] original jurisdiction that they form part of the same
                                                  16   case or controversy under Article III of the United States Constitution.” 28 U.S.C. § 1367(a). As
                                                  17   set forth above, Plaintiffs’ claims against Defendants are within the Court’s original jurisdiction
                                                  18   pursuant to 28 U.S.C. § 1331. On an individual, per-Plaintiff basis, all other claims in this action
                                                  19   arise out of the same case or controversy in that they seek relief in connection with personal injuries
                                                  20   allegedly stemming from the use of propofol. Accordingly, there is supplemental jurisdiction over
                                                  21   all other claims in this action.
                                                  22                    FILING OF SERVICE AND REMOVAL OF DOCUMENTS
                                                  23           27.     A copy of the Complaint is attached hereto as Exhibit “A”.
                                                  24           28.     A copy of the Plaintiffs’ Initial Appearance Fee Disclosure is attached hereto as
                                                  25   Exhibit “B”.
                                                  26           29.     A copy of the Docket Sheet is attached as Exhibit “C”.
                                                  27           30.     Other than the documents attached as Exhibits A-C, no pleadings, process, orders,
                                                  28   or other documents in the case have been served or otherwise received by Defendants or, to
                                                                                                   13
                                                       Case 2:18-cv-02321-JCM-NJK Document 1 Filed 12/10/18 Page 14 of 58



                                                   1   Defendants’ knowledge, are presently on file in the State Court. In the event that such filings come
                                                   2   to Defendants’ attention, true and legible copies will immediately be filed with this Court.
                                                   3          31. Defendants are serving written notification on Plaintiffs’ counsel. Defendants are also
                                                   4   filing a Notification of Removal, attaching a copy of this Notice of Removal with the Clerk of the
                                                   5   Eighth Judicial District Court, Clark County, State of Nevada.
                                                   6          Based on the foregoing, Defendants remove the above-entitled action now pending in the
                                                   7   Eighth Judicial District Court, in and for Clark County, Nevada, as Case No. A-18-781820-C, to
                                                   8   this Court.
                                                   9          DATED this 10th day of December, 2018.
                                                  10                                           HYMANSON & HYMANSON
                                                  11                                           BY: /s/    Philip M. Hymanson
                                                                                                  PHILIP M. HYMANSON, ESQ.
HYMANSON & HYMANSON




                                                  12                                              Nevada State Bar No. 2253
                      8816 Spanish Ridge Avenue




                                                                                                  HENRY JOSEPH HYMANSON, ESQ.
                         Las Vegas, NV 89148




                                                  13                                              Nevada State Bar No. 14381
                            702.629‐3300




                                                                                                  HYMANSON & HYMANSON
                                                  14                                              8816 Spanish Ridge Avenue
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                                                  15                                              (702) 629-3300 Telephone
                                                                                                  (702) 629-3332 Facsimile
                                                  16                                              Phil@HymansonLawNV.com
                                                                                                  Hank@HymansonLawNV.com
                                                  17
                                                                                                    Attorneys for TEVA PARENTERAL MEDICINES,
                                                  18                                                INC., formerly known as SICOR
                                                                                                    PHARMACEUTICALS, INC.; SICOR, Inc.;
                                                  19                                                BAXTER HEALTHCARE CORPORATION;
                                                                                                    McKESSON MEDICAL-SURGICAL INC.
                                                  20

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                                                       Case 2:18-cv-02321-JCM-NJK Document 1 Filed 12/10/18 Page 15 of 58



                                                   1                                   CERTIFICATE OF SERVICE
                                                   2          Pursuant to Fed.R.Civ.P.5(b), and Section IV of District of Nevada Electronic Filing

                                                   3   Procedures, I certify that I am an employee of Hymanson and Hymanson, and that a true and correct

                                                   4   copy of the NOTICE OF REMOVAL was served via electronic service, via CM/ECF, on the 10th

                                                   5   day of December, 2018, and to the address(es) shown below:

                                                   6
                                                            Glen J. Lerner, Esq.
                                                   7        Nevada Bar No. 4314
                                                            GLEN LERNER INJURY ATTORNEYS
                                                   8        4795 South Durango Drive
                                                            Las Vegas, Nevada 89147
                                                   9        Telephone: (702) 877-1500
                                                            Facsimile: (702) 307-5762
                                                  10        E-mail: glerner@glenlerner.com
                                                            Attorneys for Plaintiffs
                                                  11
HYMANSON & HYMANSON




                                                  12
                      8816 Spanish Ridge Avenue
                         Las Vegas, NV 89148




                                                  13
                            702.629‐3300




                                                  14                                              /s/ Karen Wiehl
                                                                                            an employee of Hymanson & Hymanson
                                                  15

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Case 2:18-cv-02321-JCM-NJK Document 1 Filed 12/10/18 Page 16 of 58


                    EXHIBIT “A”




                    EXHIBIT “A”
     Case 2:18-cv-02321-JCM-NJK Document 1 Filed 12/10/18 Page 17 of 58
                                                                         Electronically Filed
                                                                         9/27/2018 8:04 AM
                                                                         Steven D. Grierson
                                                                         CLERK OF THE COURT
1    COMP
     Glen J. Lerner, Esq.
2    Nevada Bar No. 4314
     GLEN LERNER INJURY ATTORNEYS
3    4795 South Durango Drive
     Las Vegas, Nevada 89147
4    Telephone: (702) 877-1500
     Facsimile: (702) 307-5762
5    E-mail: glerner@glenlerner.com
     Attorneys for Plaintiffs
6
                                          DISTRICT COURT
7
                                   CLARK COUNTY, NEVADA
8
     ABADJIAN, SOSSY; ACKERMAN, GLORIA; ADARVE, VIRGINIA;
9    ADLER, FRANCIS; AGUILAR, CARMEN; AGUILAR, NARCISO        CASE NO.: A-18-781820-C
     RENE; ALDER, RHEA; ALLEN, GEORGE; ALLSHOUSE,             DEPT NO.: Department 4
10   SOCORRO; ALPY, LINDA; ALVAREZ, JOYCE; ANDERSON,
     REBECCA L.; ANDREI, EMANUEL; ANTLES, TERRIE;             COMPLAINT
11   APPLETON-HULTZ,     KELLIE;   ARCHULETA,     ANTHONY;
     ARELLANOS, ESTEBAN; ARIAS, RICKIE; ARKENBURG, MARK;      ARBITRATION EXEMPT
12   ARRIOLA, ROGER; ARTIGA, MARIA; ASBERRY, ROBIN;           [Amount      in   Controversy   Exceeds
     BABCOCK, WINIFRED; BACH , ROBERT; BACHAND, SUSAN F.;     $50,000]
13   BAGLEY-TENNER, ELAINE; BAL, MELISSA; BALDRIDGE,
     BRYAN; BARBEE, DOROTHY; BARKER, RONALD; BARNCORD,
14   RONALD; BARNES, RUSSELL; BARNHART, PEGGY JO;
     BARRALL, MADALYN; BARTLETT, DONALD; BARTLETT,
15   SHERYLE; BAUDOIN, JOSEPH; BAXTER, BARBARA; BEAMON,
     VENUS; BEATTY, BARBARA ROBIN; BEHLINGS, RODNEY;
16   BEJARAN, CRISTINA; BENEDETTI, TOMAS; BENFORD, VERNA;
     BENKERT, RICHARD; BERGERON , MARSHALL; BERGERON,
17   DONNA; BIVONA, SYLVIA; BLAIR, ROBERT; BLAKELEY,
     HARRY; BLANCHARD, DAWN; BLOSS, BONNIE; BOLAR,
18   DARRELL; BOLDEN, ROY; BOLDEN, SARAH; BOLEN, SCOT;
     BONILLA, VICTOR; BOONE, JOHN; BORRAYES, GRACIELA;
19   BOWEN, BILLY; BOWERS, SHIRLEY; BOWLES, BRIDGET;
     BOYKINS, CATHY; BRADFORD, BRENDA; BRADLEY, SHIRLEY;
20   BRAUER, CARLA; BROWN, CAROLYN; BROWN, JACK; BROWN,
     KENNETH; BROWN, LESLIE; BROWN, MICHAEL; BROWN,
21   ROBERTA; BRUNS, AMELIA B.; BURCHARD, CARL L.; BURKS,
     TRACI; BURTON, ELIZABETH; BUSTAMANTE- RAMIREZ,
22   ANGELITE; BUSTAMANTE, ANASTASIO; BUSTAMANTE,
     MARIO; BUTLER, DOROTHY ANN; CALCATERRA, LEE;
23   CALDERON, ROBERT; CALLAHAN, SHEILA; CAMPBELL,
     EVELYN; CAMPOLO, JOHN; CAMPOS, MARIA; CANACARIS,
24   BOONYUEN;     CANACARIS,    CONSTANTINOS;    CAPANDA,
     MELISSA; CAPERELL, MARTIN; CARDONA, JAIME; CARDONA,
25   PEDRO; CARNEY, SUSIE; CARPENTER, JOHN; CARR, LESTER;
     CARR, TERESA; CARRASCO, BERNARDINO; CARTER, TRUMAN;
26   CASTO, XANDRA; CAUDLE, SPENCE; CAUSEY, MARGARET;
     CEBALLOS, XAVIER; CEDENO, ROBERT; CELANO, HELAYNE;
27   CELANO,    VINCENT;    CENTENO,    DINORA;     CEPEDA,
     GUADALUPE; CHASE, ROY; CHEA, CARIDAD; CHEVEZ, ELSA;
28   CHIGER, MARK; CHILDS, LUCILLE; CIRCLE, DONALD; CLARK,
     ALICIA; CLARK, CAROL; CLARK, PATRICIA; COIRO, RICHARD;


                                                     1
                                Case Number: A-18-781820-C
     Case 2:18-cv-02321-JCM-NJK Document 1 Filed 12/10/18 Page 18 of 58



1    COLLINS, PERCELL       JR.; COMPTON, ROBERT; CONNER,
     ERNEST; COOK, CLIFF; COREY, SUSAN; CORREA, PATRICIA;
2    COULOMBE, PAUL A.; CRAWFORD, AMBER; CROCKER,
     RONALD; CROCKETT, PAMELA; CROSS, HOWARD; CROSSLEY,
3    ROSSLYN; DANIELS, WILLIAM R.; DAVIS, EVELYN; DAVIS,
     MARY JEAN; DAVIS, VIRGINIA A.; DAWSON, JESSIE L.;
4    DELACRUZ, DENISE M.; DELACRUZ, EMELYN; DERAS, SILVIA;
     DEROSE, GREGORY; DEVINE, SHERIDA; DIAMOND, CLAIRE;
5    DIAZ-PEREZ, JOSE; DIPIETRO, MARK; DIXON, OTIS L.; DOLPIES,
     EMILIO; DOMINGO, TAMARA; DOMINGUEZ, PAMELA;
6    DOMKOSKI, EUQENA; DONATO, JOSEPH; DONIS, HUGO;
     DONLEY, PATRICIA L.; DRAGANIC, LJUBICA; DUCK, DELORIS
7    K.; DUHS, KATHLEEN J.; DUNCAN, LILLIAN; DUSYK, HAROLD;
     DYER, ALLYSON R. JR.; EASLEY, LOIS; ECHEVERRIA, DEISY;
8    EDMOND, DONNEDIA D.; ELAURIA, ROLAND E.; ESCALA,
     DARIO E.; ESCALA, ENGARCIA B.; ESCALERA, KATHY A.;
9    ESCOBEDO, MARIA. ESPINOSA,TERESA I.; ESPOSITO, ERNEST
     A.; EVANS, LEON; EVANS, WILLIAM; EVERSOLE, JOHN J.;
10   FAULKNER, MARY; FEINGOLD, ABRAHAM; FEINGOLD,
     MURIEL;    FENNELL,     OSCAR;   FERGUSON,     MARIETTA;
11   FERGUSON, WILLIE; FERRANTE, DANIEL; FICKLIN, CAROLYN;
     FILBECK, JOE; FINEBERG, ETHEL; FINN, MADELINE C.; FITCH,
12   ALBERT L.; FLORES, ADRIAN; FLORES, MARIA; FOLKENFLIK,
     RONALD; FOREMASTER, RAUNA; FOSTER, JOSEPH E.; FOSTER,
13   PHYLLIS G.; FRAZIER, CYNTHIA D.; FREEMAN, VICTORIA;
     FRIEL, LAWRENCE; FRIESEN, BONITA M.; FRILLARTE, NESS;
14   FRISBY, NANCY C.; GAINES, JODI; GALLEGOS, ESPERANZA;
     GALLEGOS, NEOHMI; GARAY, LUIS; GARCIA, BRENDA;
15   GARCIA, MARTHA; GARDNER, SANDRA; GARVEY, MICHAEL;
     GASS, LOIS; GELLENS, JEREMY; GEOGHEGAN, MARION;
16   GEORGE, THERESA; GIANNOPOULOS, TINA; GIANNOPOULOS,
     ARIS; GILBERT, WANDA; GLENN, GREGORY; GOLDEN, JEAN;
17   GOLDEN-LEWIS, TYRA; GOLOB, LUCIANO; GOMEZ; CARRILLO,
     MARGARITO; GONZALES, PASTOR; GONZALEZ-TORRES,
18   JESUS; GORDY, TJ; GOTLIEB, JEFF; GOUDY, ALLEN; GRAHAM,
     ANNETTA; GRATTAN, BILL; GRAY, ARNOLD; GRAY, BONNIE;
19   GREEN, DOROTHY; GREEN, TANIA; GREGORICH, ROY;
     GRESSER, JEFFREY; GRIFFIN, WILLIE; GRIMBLOT, ROBERT;
20   GRIMES, VERNA; GRIMM, CYNTHIA; GRIMM, ROBERT;
     GRONNA,     PATRICK;     GUERETTE,    CARL;    GUEVARA,
21   CANDELARIO; GULLI, NICHOLAS; GUTIERREZ, JULIA;
     HACHEZ, DENISE F.; HADJES, SUE; HAL, ESTHER I.; HALL,
22   FRANK J.; HALL, TINA; HAMBLIN, CHARDAI C.; HAMILTON,
     ROBERT JR.; HANCOCK, DEBORAH; HARO, JESSICA M.;
23   HARPER, JOANN; HARRINGTON, ANNA C.; HARRINGTON,
     MICHAEL S.; HARRIS, DORIS; HARRISON, GLORICE; HARRISON,
24   SHARA;     HARRISON-CARTER,      PATRICIA;   HARSHMAN-
     TALBERT, BRIANNA S.; HARTLEY, RONALD K.; HARWOOD,
25   ROBERT; HAUGEN-RATTAZZI, LINDA K.; HAYASHI, ESTHER A.;
     HAYES, SAMUEL; HEIN, SUSETTE A.; HENDERSON-SHEPHERD,
26   NITA; HENNICK, ROY M.; HENSON, JUANITA; HEREDIA, LUCIA;
     HERNANDEZ, CANDIDO; HERNANDEZ, MARCIAL                 A.;
27   HERNANDEZ, MARIA; HERROLD, THOMAS; HERRON, LUZ;
     HILL, SUSAN M.; HINER, ISHEKA; HOARD, ARLENE; HOBBS,
28   BETH; HOLLIS, MICHELLE; HOLMES, JAQUELINE A.; HOOKER,
     JOSHUA; HOOVER, WILLIE; HOPPINS, PATRICIA; HORVATH,


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1    BELVIA; HORVATH, JAMES; HOSTLER, ANA; HOULE,
     AUGUSTAVE; HOVIETZ, CARL II; HOWARD, RUTH; HOWELL,
2    ROBERT E.; HOWFORD, MICHELE; HUEBNER, EDWARD L.;
     HUGHES, LOVETTE M.; HUNTER, VIRIGINIA M.; HURTADO-
3    MIGUEL, PATRICIA; HWANG, HO NAN; HYYPPA, ANGELA;
     IBARRA, JANETTE; INFUSO, JOSEPH; INTERDONATI, FRANK;
4    IREY, BRIAN; JACKSON, BARRY; JACKSON, CECIL; JACKSON,
     DORA; JARAMILLO, ROLANDO; JILES, RICHARD; JILES, LETHA;
5    JOHNSON, CLIFTON; JOHNSON, DORIS; JOHNSON, EUGENE;
     JOHNSON, JOHNNY; JOHNSON, JOYCE; JOHNSON, WILLIAM;
6    JONES, ARNOLD; KABADAIAN, ANN; KALETA, ANTHONY K.;
     KAPOOR, ARUN; KEELER, LINDA J.; KEELING, SHARON;
7    KELLY, MICHAEL F.; KEYES, RAYANN J.; KIDD , DARRELL;
     KIM, CONNIE; KIM, SOO-OK; KIM, TAESOOK; KIMBERS,
8    SONDRA I.; KINDLER, ELIZABETH I.; KING, IRIS L.; KING,
     LARRY D.; KOCEJA, RAYMOND E.; KOENEN, TRACEY; KOENIG,
9    JOANNA;     KOH,     PATRICK;     KOPANSKI,    MICHAEL;
     KRACHENFELS, MICHAEL J.; KRAMER, CORINNE M.; KROITOR,
10   DAVID; KUNIK, OLGA; KUNZIG, KAREN A.; LAFOUNTAIN,
     ANEITA; LAKE, BARBARA; LAMPMAN, KRYSTAL; LANG,
11   DARSEL; LARSON, JONATHAN; LAUREL, BERTHA; LAURON,
     ANGES G.; LAWSON, MARIE; LEBLANC, PHYLLIS; LEEMAN-
12   ROSS, BETTY J.; LETANG, ARLENE; LEV, JANE; LEWIS, JAMES
     A.; LIEBSCHUTZ, JOAN; LIM, MINERVA L.; LIMES, DEBRA;
13   LINDSEY, EDWARD; LINETSKY, SETH; LISTA, EMILIO D.;
     LITTLE, WILLIAM; LIVINGSTON-STEEL, DOROTHY; LOPEZ,
14   FELISA; LOPEZ, IRAIDA; LOPEZ, MARTHA; LOPEZ, NOE; LOPEZ,
     TONEY E.; LOPRESTO, FRANCINE R.; LUCAS, FLORENCE;
15   LUTHER, DARLENE;        LYLES,   FRANK   L.;   MACLEAN,
     STERPHANIE;     MADRID,     DEBORAH;    MAGILL,    LORI;
16   MAIWAND**, MARWA; MAJOR, DOROTHY J.; MALDONADO,
     MARGUERITE; MALDONADO, MARIO; MALWITZ, IDA;
17   MANUEL, AUDREY; MARES, GABRIEL; MAROHL, ROBERT;
     MARQUEZ, CAROL A.; MARTIGANI, BRENDA; MARTIN LEE,
18   TERRI L.; MARTIN, LEONARD A.; MARTIN, TERRI L.;
     MARTINEZ, HUGO; MARTINEZ, JORGE B.; MARTINEZ, JOSE;
19   MARZULLI, GRACE; MASCARI, MARY LOUISE; MASTRIAN,
     LUCY; MATTI, FATIN; MAYS, LEROY; MAYS, LISA; MCCALL,
20   TERRY;    MCCALL,    VIRGINIA    A.;  MCCLAIN,    LETTA;
     MCCLINTON, ALFRED; MCCRAY, STELLA; MCDANIEL,
21   LAURENCE; MCDAVID, JOHN JR.; MCDONALD, DAVID;
     MCDONNELL, DOLORES; MCGEE, DENISE ANNE; MCKINNEY,
22   MAE; MCKNIGHT, JANET; MCMILLEN, FRED III; MEACHAM,
     MYRON; MEJIA, KELLEY; MEKHJIAN, AIDA A.; MELLOR,
23   CHELSEY L.; MENDOZA, JIGGERSON; MERRELL-CLAPP,
     SUSAN; MIDDAUGH, JAMES; MILBURN, SYLVIA; MILLER,
24   CORINNE;    MITCHELL,     GERALD;    MITCHELL,   JANICE;
     MITCHELL, OLIVER; MIZHIRITSKY, MIKHAIL; MOLITOR, KIRK;
25   MOODY, STEVEN; MOORE, MARY; MORA, JOSE; MORALES,
     YOLANDA;         MORALES;       CASTRO,      ELIZABETH;
26   MORCIGLIO,YOLANDA; MORENO, BIVETTA; MORGAN, DAVID;
     MORGAN, DENISE M.; MORGAN, DOUGLAS; MORGAN, SONIA;
27   MORICI, ANDREW; MORRIS, BARRY; MORRIS, JAMES; MORRIS,
     JUANITA E.; MORSE, MICHELE; MORTENSEN, DAN R.;
28   MOSQUEDA, MIGDALIA; MOTOLA, ANDREA; MUNA, ANNIE;
     MUNGER, JUDITH A.; MUNGUIA, LUCILA; MURANYI, DIANE;


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1    MURRAY, WILLIE; MUSCARA, DIOSELINA; NAGY, JOSEPH;
     NAJARRO, JOSE A.; NAKONECZNY, BONNIE; NANOD, THANG;
2    NATINGA, ERLINDA; NAVARRO-ORTIZ, MARIA; NELSON,
     LEEANNE; NEVINS, DANIEL; NEWELL, LANITA; NOGA, PAUL;
3    NORLIN, ROSEMARIE; NOVOTNY, RONALEE; NYDEN,
     MARSHALL; OBERSHAW, WADE; O'CONNELL, JOSEPH;
4    O'FARRIL, LUCIO F.; O'HALLORAN, SHAWN; OKU, ANDREW;
     OLIVA, DIGNA; O'MARA, JOHN; O'NEAL, NORMA J.; ORCULLO,
5    LINDA; OROZCO-GALAN, PAULA; PACHECO, ANGELA;
     PANKHURST, DENIS; PARATORE, MATT; PARK, ROBERT;
6    PARKINSON, KATHY; PAZOS, JESUS; PEARCE, MARILYN;
     PECCORINI, TERESA; PEDRO, PHYLLIS; PENA, JOSE O.;
7    PEOPLES, PATRICIA; PERDOMO, DELMY C.; PEREZ, DORA;
     PEREZ, LOUISE; PEREZ, LUIS; PEREZ, MARIA; PEREZ,
8    MERCEDES; PEREZ-ROQUE, AGUSTIN; PERRET, ANDRE;
     PERRY, JANET P.; PETERSON, ALAN K.; PHILIP, LOWELL;
9    PHILIP, MICHELLE; PICARD, CRAIG; PINSKER, DONALD;
     PITMAN, JASON B.; PITTMAN, WAYNE; PODROUZEK, JEFF;
10   POLILLO,   ROGER;    POLINSKI,  RON;   PORTER,   JUDY;
     POURTEYMAUR, MOHAMMED; POWERS, DONNA; POWERS,
11   EVA; POWERS, JENNIFER; PRICE, DOUGLAS; PRICE, IVOR;
     PRIETO, JOSE; PRIETO, LUISA; PRUSSIN, ELY; QUINTERO,
12   FRANCISCO; QUIROZ, ANTHONY RAY; RABADAN, MARIBEL;
     RAGAZZO, MARIO; RAMIREZ , ADRIANA; RAMIREZ, JOHN;
13   RAMIREZ, RAUL; RANSOM, EDWARD; RAPOSA, ROBERT;
     RATTAZZI, DEVIN; REDDING, CANTICE M.; REED, KAREN;
14   REYES , HELEN; REYES DE MEDINA, CELIA; REYES, GABRIEL;
     REYES, MIGUEL; RICE, MICHAEL; ROBERSON, LESTER;
15   ROBERTS, BARBARA; ROBINSON, CONSTANCE; ROBINSON,
     LLOYD H.; ROBY, CONNIE; ROCHESTER, ANTOINETTE;
16   RODGERS, VICKI; RODGERS, TREVA; RODRIGUEZ, MARIA;
     RODRIGUEZ, NENITA; RODRIGUEZ, RICARDO; RODRIGUEZ,
17   YOLANDA; RODRIGUEZ-RAMIREZ, JOSE; ROGERS, FREEMAN;
     ROGGENSEE, CAROLE; ROJAS, SONIA; ROMANO, JOSEPH;
18   ROSE, JEAN; RUCKEY, GWENDOLYN; RUSSELL, ROSETTA;
     SADDLER, DEMETRY; SALAS, JANISANN; SALCEDO, MARIA;
19   SALGUERO, FRANCISCO; SANDERS, KERRI; SANDERS, LOVIE;
     SAUNDERS, PAUL; SAUNDERS, SHERRILYN; SAWYER, DANNY;
20   SCHILLING, ISA; SCHLAPPI, SHAUN; SCHROEDER, STEPHEN;
     SCHULMAN, JEFFREY; SEAY, RAY; SENNESS, SANDRA;
21   SERGIO, ANTHONY JR.; SFORZA, MAURICE; SHANKLIN,
     SYLVIA; SHANKS, JULIE; SHEARER, DOUGLAS; SIMKO,
22   SANDRA; SIPPLE, MYRTLE; SKINNER, CHARLES; SLATER,
     JAMES; SLAUGHTER, JACKLYN; SLAUGHTER, JOHN; SLONE,
23   JOHN; SMITH, CATHERINE; SMITH, WILBUR; SNYDER, LILA;
     SOBIESKI, DOLORES; SOCORRO, MICHELLE; SOMMER,
24   WAYNE; SOTO, MARIA; SOUSSANA, VIDANA; SPAINHOUR,
     JULIE; SPANGLER, JESSICA; SPARKS, PATRICIA; SPARKS,
25   SANDRA; SPELLMAN, PATRICIA; STANFORD, JEFFREY;
     STANKARD, WILLIAM; STANLEY, GINGER; STEWART,
26   RODNEY; STOKLOSA, WALTER; STROHECKER, LETICIA;
     STROMGREN, HAROLD; SUDO, MAFALDA; SWAIN, BARBARA;
27   TADEO, NORMA; TARNOWISKI , MIRKA; TARNOWSKI,
     RYSZARD; TASH, ROXANNE E.; TAYLOR, JILL; THIBEAULT,
28   JEANNE; TITUS-PILATE, CATHERINE; TOPPLE, RAYMOND;
     TORIBIO, DOMINGA; TORRES, YADEL; TOWNSLEY, RITA M.;


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1    TRAFTON, ROSELYN; TROMELLO, SALVATORE; TROPP,
     PATRICIA A.; TUCKOSH, DOROTHY; TURNER, LUCY; TURNER,
2    TERRY; TUZINSKI, ROBERT; UNRUH, WILLIAM; VALLS, JESUS;
     VALONE, DIANNE; VANCE, GILBERT; VANDERGAAG,
3    HILLEGONDA; VELEY, HENRY; VILLEGAS, STELLA; VIRGIL,
     LOUIS; VITAL-CEDENO, CECILIA; VOLK, COLLEEN; VORGIAS,
4    CHRIST; WADLOW, WILLIAM; WAGNER, BETTY; WALTERS,
     JOHN; WALTON , JASON; WAMPOLE, JANICE; WARD,
5    BARBARA; WARD, GLORIA; WARIS, SANDRA; WATKINS,
     ELIZABETH; WEDDINGTON, LESTER; WEISNER, ARLENE;
6    WHEELER, KATHRYN; WHITE, DEBRA; WHITE, FRANK E.;
     WHITE, SERENE; WHITE, SHARON; WILKINS, BRIDGET;
7    WILLIAMS, ACE K.; WILLIAMS, ANTHONY; WILLIAMS,
     AUBREY; WILLIAMS, CHARLES; WILLIAMS, CHERYL;
8    WILLIAMS, MARY; WILLIAMS, REALINDA; WILLIAMS, WILLIE;
     WILSON, GARY; WILSON, ROBERT; WILT, STEVEN; WINSLOW,
9    ANGELA; WINTEROWD, BEVERLY; WINTERS, BETTY; WOLF,
     JAMES; WORTHY, DEREK, individually,
10
                           Plaintiffs,
11          v.

12   TEVA PARENTERAL MEDICINES, INC., formerly known as SICOR
     PHARMACEUTICALS, INC.; SICOR, Inc., a Delaware Corporation;
13   BAXTER HEALTHCARE CORPORATION, a Delaware Corporation;
     McKESSON MEDICAL-SURGICAL INC., a Delaware
14   Corporation,

15                         Defendants.

16                                               COMPLAINT
17          COME NOW Plaintiffs above-captioned, by and through their attorneys of record, Glen J.

18   Lerner, Esq., of GLEN LERNER INJURY ATTORNEYS, and for their Complaint hereby aver and

19   allege as follows:

20          1.      At all relevant times, Plaintiffs have been adults, competent residents of Clark

21   County, Nevada.

22          2.      Defendant, TEVA PARENTERAL MEDICINES, INC., formerly known as SICOR

23   PHARMACEUTICALS, INC., and SICOR, INC. (hereinafter collectively referred to as "SICOR")

24   are, and were at all relevant times herein, corporations chartered by and existing under and by virtue

25   of the laws of the State of Delaware, with their principal place of business in the State of California

26   and are and were in the business of manufacturing, marketing, distributing, and selling propofol and

27   other medical products utilized by physicians and health care providers in connection with the

28   provision of anesthesia services to patients at the aforementioned Clinics.


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1            3.      Defendant, BAXTER HEALTHCARE CORPORATION (hereinafter referred to as
2    "BAXTER") is, and was at all relevant times herein, a corporation chartered by and existing under
3    and by virtue of the laws of the State of Delaware, with its principal place of business in the State of
4    Illinois and is and was in the business of manufacturing, marketing, distributing, and selling
5    propofol and other medical products utilized by physicians and health care providers in connection
6    with the provision of anesthesia services to patients at the aforementioned Clinics.
7            4.      Upon information and belief, Defendant, McKESSON MEDICAL-SURGICAL INC.
8    (hereinafter referred to as "McKESSON") is, and was at all relevant times herein, a corporation
9    chartered by and existing under and by virtue of the laws of the State of Delaware, with its principal
10   place of business in the State of California and is and was in the business of marketing, distributing,
11   and selling propofol and other medical products utilized by physicians and health care providers in
12   connection with the provision of anesthesia services to patients at the aforementioned Clinics.
13           5.      That at all times mentioned herein, the product Defendants were the agents, servants
14   and/or employees of each of the other product Defendants, and were acting with permission and
15   consent and within the course and scope of their agency and employment; that all such Defendants
16   were responsible in some manner for the events and happenings referred to herein (either directly or
17   through aiding and abetting, either negligently or intentionally), and proximately caused damages to
18   Plaintiffs in a way that makes these Defendants jointly and severally liable.
19           6.      At all relevant times, Defendants have been parties to and beneficiaries of a tolling
20   agreement with these Plaintiffs, entered into in this jurisdiction, which has had the effect of tolling
21   the statute of limitations applicable to Plaintiffs claims.
22           7.      Each of the acts alleged herein occurred in Clark County, Nevada, at an endoscopy
23   center (hereinafter CLINIC) located at 700 Shadow Lane, Clark County, Nevada (or related
24   facilities) which provided anesthesia services in connection with the provision of endoscopy
25   procedures to patients.
26           8.      At all relevant times (hereinafter understood to be between March 2004 to January
27   2008), Defendants designed, manufactured labeled, marketed, sold or distributed propofol to the
28   aforementioned CLINIC.


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1           9.      At all relevant times, Defendants knew or should have known of practices and
2    procedures at the CLINIC which involved the re-use of injection syringes and anesthesia bottles
3    which created a foreseeable risk of infection/cross-contamination between patients with whom said
4    syringes and anesthesia bottles were shared.
5           10.     The above-described re-use of injection syringes and anesthesia bottles may not have
6    occurred each and every time an injection was done at the CLINIC, but happened consistently
7    enough during the time that Defendants supplied propofol to justify a mass warning of possible
8    infection sent to all individuals who received an injection at the CLINIC between March 2004 and
9    January 2008, and said warning did in fact occur commencing in approximately February, 2008.
10          11.     Governmental health officials, health care providers, and representatives of the
11   CLINIC itself recommended that any and all persons who received an injection at the clinic between
12   March of 2004 and January of 2008 get tested for Hepatitis B, Hepatitis C, and HIV, as well as
13   spouses and significant others with whom CLINIC patients may have had sexual contact.
14          12.     At all relevant times, Plaintiffs each received injections at the CLINIC on one or more
15   occasion, and were thereafter notified or otherwise learned that they were potentially exposed to the
16   risk of infectious disease by reason of the injection practices and procedures used at the CLINIC.
17          13.     In response to learning that they were potentially exposed to an infectious disease by
18   reason of the practices and procedures at the CLINIC, Plaintiffs obtained the recommended testing
19   and eventually learned that they were infection-free.
20          14.     According to the Southern Nevada Health District, http://www.cchd.org/hepc-
21   investigation/index.php, patients of these clinics were exposed to a risk of possible exposure to
22   blood-borne pathogens in the following manner:
23                  a. A syringe (not a needle) that was used to administer medication to a patient was
                       reused on the same patient to draw up additional medication.
24
                    b. The process of redrawing medication using the same syringe could have
25                     contaminated the vial from which the medicine was drawn with the blood of the
                       patient.
26
                    c. The vial, which was not labeled for use on multiple patients, was then used for a
27                     second patient (with a clean needle and syringe).
28



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1                    d. If that vial was contaminated with the blood of the first patient, any subsequent
                        patients given medication from that vial could have been exposed to bloodborne
2                       pathogens.
3              15.   On or about February 28, 2008, the Southern Nevada Health District sent Plaintiffs

4    and approximately 60,000 others a letter informing them that they were “placed at risk of possible

5    exposure to bloodborne (sic) pathogens,” and that “[a]s a precaution, and in order to take appropriate

6    steps to protect your health, we recommend you get tested for hepatitis C, hepatitis B, and HIV.”

7              16.   Plaintiffs and many others similarly situated (as either CLINIC patients or persons

8    with whom CLINIC patients had sexual contact) reacted to the Southern Nevada Health District’s

9    notification of possible infection (or notification through some other means) by getting the

10   recommended testing, and incurred medical bills and other out-of-pocket expense for that testing as a

11   result.

12             17.   Plaintiffs (and many others) ultimately tested negative for hepatitis C, hepatitis B, and

13   HIV, but each Plaintiff endured emotional distress, anxiety, and fear during the pendency of their test

14   results and for some time after.

15             18.   Plaintiffs herein have had a tolling agreement in place with Defendants since

16   February 23, 2010.

17                                        FIRST CLAIM FOR RELIEF
                                         STRICT PRODUCT LIABILITY
18                             (As to Teva/Sicor, Baxter and McKesson Defendants)
19             19.   Plaintiffs hereby adopt and incorporate by reference all prior paragraphs as though

20   fully set forth herein.

21             20.   In 1983, the Annuals of Internal Medicine published an article entitled "Hepatitis B

22   Virus Transmission Associated With A Multiple-Dose Vial In A Hemodialysis Unit" found at

23   Ann.Intern.Med. 1983; 99; 330-3. Plaintiffs are informed and believe and thereupon allege that the

24   potential for transmission of Hepatitis B or C or HIV from administration of medicine to two or more

25   patients from the same vial has been known since at least 1983.

26             21.   Propofol (i.e., "Diprivan") was initially approved for marketing on October 2, 1989 for

27   use as an anesthetic in outpatient and inpatient procedures.

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1           22.     Plaintiffs are informed and believe and thereupon allege that, following the launch of
2    the original formulation of propofol (i.e., "Diprivan"), that the original manufacturer (i.e., ICI
3    Pharmaceuticals; which later became Zeneca Pharmaceuticals) and the FDA began to receive reports
4    of infections associated with the failure of health care providers in the United States to use
5    appropriate aseptic techniques in the administration of propofol; which reports raised concerns among
6    Zeneca, the FDA and the Centers for Disease Control and Prevention (the "CDC") about propofol
7    multi-dosing and its potential contaminant effect.
8           23.     On June 29, 1990, the CDC reported in the MMWR (June 29, 1990/39(25); 426, 247,
9    433 that 48% to 90% of anesthesia personnel were reusing syringes to administer propofol to multiple
10   patients:
11          24.     Two recent surveys of anesthesia personnel show that aseptic technique and infection
12   control practices are frequently not implemented during administration of anesthesia.           In these
13   surveys, from 48% to 90% of respondents reused syringes to multiple patients.
14          25.     Plaintiffs are informed and believe and thereupon allege that, between June 1990 and
15   February 1993, the CDC conducted investigations at seven hospitals with unusual outbreaks of
16   infections after surgical procedures using propofol and, focusing on four clusters of post operative
17   infections in four states, the CDC concluded that contamination occurring from propofol
18   administration was caused by mishandling the propofol.
19          26.     On July 6, 1990, Nancy E. Nazari of Stuart Pharmaceuticals sent a "Dear Doctor"
20   letter to health care professionals regarding propofol (i.e., "Diprivan") discussing, among other things,
21   potential multiple-dose vial contamination.
22          27.     On February 5, 1991, Nancy E. Nazari of Stuart Pharmaceuticals sent a "DearDoctor"
23   letter to health care professionals regarding propofol (i.e., "Diprivan") discussing, among other things,
24   potential multiple-dose vial contamination.
25          28.     On July 20, 1995, The New England Journal of Medicine published an article entitled
26   "Postoperative Infections Traced to Contamination of an Intravenous Anesthetic, Propofol" that
27   describes the above-referenced CDC investigation and, in addition, provided in pertinent part that
28



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1    anesthesia personnel were in fact reusing multi-dose vials on multiple patients despite written
2    recommendations to the contrary:
3              29.   Despite the written recommendations of professional associations, such as the
4    American Society of Anesthesiologists and the American Association of Nurse Anesthetists, which
5    specifically advocate the use of aseptic techniques during the handling of medications, several authors
6    have reported poor compliance with aseptic techniques and infection-control practices by anesthesia
7    personnel. Contamination of multi-dose vials, use of a single syringe to administer medication to
8    different patients, assembling infusion equipment far in advance of use, and contamination of
9    syringes and catheters have all been implicated in other outbreaks. Studies show that reuse of multi-
10   dose vials can cause contamination of the medication in the vials and that contamination can occur
11   during the opening of a glass vial whose surface has not been disinfected. Injecting medications into
12   intravenous catheters can cause syringes to become contaminated even if the needle is changed, so
13   that using common syringes to administer medication to different patients can transmit infectious
14   agents.
15             30.   On May 5, 2000, Defendant SICOR (under its then name "GensiaSicor
16   Pharmaceuticals, Inc.") filed a Suitability Petition with the FDA requesting permission to supplement
17   an abbreviated new drug application ("ANDA") for "100mg/10mL, single use vial" of propofol and
18   Defendant SICOR stated that "a smaller vial size is safer in that it may reduce the temptation for
19   dosing multiple patients from a single container thereby reducing opportunities for microbial
20   contamination."
21             31.   On September 17, 2001, Defendant SICOR (under its then name "GensiaSicor
22   Pharmaceuticals, Inc.") filed a Suitability Petition with the FDA requesting permission to submit an
23   abbreviated new drug application ("ANDA") for 2000mg/200mL vials of propofol. On or about
24   December 17, 2001, the FDA rejected such petition; observing that 20 mL was the propofol "dose
25   commonly used for propofol induction of anesthesia" and the FDA stated that larger doses "could
26   make multi-dosing much more tempting and, hence, more likely."
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1            32.    Plaintiffs are informed and believe and thereupon allege that, in or about 2002, 12
2    patients contracted Hepatitis C at a Manhattan physician's endoscopy center caused by medication
3    drawn through multi-use vials.
4            33.    Plaintiffs are informed and believe and thereupon allege that, in or about 2002, 38
5    patients contracted Hepatitis C at a Manhattan pain clinic caused by medication drawn through multi-
6    use vials.
7            34.    In 2003, the World Health Organization reported that single-dose vials should be used
8    and that "the use of multi-dose vials has been reported to be a potential source of infections in 19
9    studies." Bulletin of the World Health Organization 2003, 81 (7), entitled "Best infection control
10   practices for intradermal, subcutaneous, and intramuscular needle injections." One of the 19 studies
11   referenced involved hepatitis caused by "preparation of multi-dose heparin", which heparin is another
12   Baxter product. (See Oren, "A common-source outbreak of fulminant Hepatitis B in a hospital."
13   Annals of Internal Medicine 1989; 110:691-8).
14           35.    In June 2007, the FDA issued an alert that referenced reports of "several clusters of
15   patients who have developed fever, chills, and body aches shortly after receiving propofol from 7
16   different facilities in 4 different states,” and stated that the same propofol vial was used on multiple
17   patients: "To date, all affected patients received propofol for sedation in gastrointestinal suites.
18   Some facilities where the propofol was administered used propofol vials, intended only for single-
19   patient use, for more than one patient."
20           36.     Plaintiffs are informed and believe and thereupon allege that, because of the hepatitis
21   outbreaks in New York described above, the New York State Health Commissioner; Dr. Richard
22   Daines, and the New York City Health Commissioner; Dr. Thomas Frieden, have called for an
23   outright ban on multi-dose vials.
24           37.    Multiple use of propofol by endoscopy surgery centers on more than one patient was a
25   foreseeable misuse of propofol vials.
26           38.    Defendants SICOR, BAXTER, and McKESSON knew or should have known that the
27   smaller vial sizes were safer for endoscopy surgery centers given the amount of propofol typically
28   used by such centers and the economic allure to such centers to use instead of discarding remaining


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1    propofol in a larger vial. As set forth above, Defendant SICOR expressly stated that "a smaller vial
2    size is safer in that it may reduce the temptation for dosing multiple patients from a single container
3    thereby reducing opportunities for microbial contamination." (Emphasis added).
4            39.     Plaintiffs are informed and believe and thereupon allege that Defendants SICOR,
5    BAXTER, and McKESSON knew of incidents prior to the shipment of the propofol used in this case
6    wherein a surgery center reportedly used propofol on more than one patient.
7            40.     At the time the propofol was shipped, propofol in larger vial sizes was unreasonably
8    dangerous for use in an endoscopy surgery center, that is dangerous to any extent beyond that which
9    would be contemplated by the ordinary and prudent patient using such product, considering the
10   characteristics of the product (including, but not limited to, the much smaller propofol dosage
11   normally required for one patient undergoing colonoscopy or endoscopy surgery), its propensities,
12   risks (including not limited to the potential for transmitting infectious disease such as Hepatitis B or C
13   or HIV if propofol from the same vial was used on multiple patients), its dangers and uses.
14           41.     As a direct and proximate result of the tortious conduct of Defendants SICOR,
15   BAXTER, and McKESSON alleged herein, Plaintiffs have incurred special damages in the form of
16   medical expense as well as emotional distress, anxiety, and fear during the pendency of their test
17   results and for some time after, all to their damage in an amount in excess of Ten Thousand Dollars
18   ($10,000.00) and the Fifteen Thousand Dollar ($15,000.00) minimum necessary to invoke this
19   Court’s jurisdiction.
20                            SECOND CLAIM FOR RELIEF
        BREACH OF IMPLIED WARRANTY OF FITNESS FOR A PARTICULAR PURPOSE
21                    (As to Teva/Sicor, Baxter, McKesson Defendants)
22           42.     Plaintiffs hereby adopt and incorporate by reference all prior paragraphs as though
23   fully set forth herein.
24           43.     In March 1999, Defendant Sicor gave Defendant Baxter the exclusive right to market
25   propofol manufactured by Defendant Sicor in the United States. The agreement between Defendant
26   Sicor and Defendant Baxter extended through January 1, 2009.
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1              44.   Plaintiffs are informed and believe and thereupon allege that propofol provided by the
2    Product Defect Defendants was used to provide anesthetic for patients and procedures at the
3    Defendant Clinics during the relevant time period.
4              45.   At the time that the Product Defect Defendants manufactured, distributed, marketed,
5    and sold propofol in 50 ml bottles to the Defendant Centers, Defendants Sicor, Baxter, and/or
6    McKesson knew that the propofol was being used or potentially was being used in an endoscopy
7    surgery center, and impliedly warranted that the propofol as manufactured and produced was safe
8    and fit for the purpose for which the product was intended and or for all foreseeable use and misuse
9    that may occur at a high volume endoscopy center, including aseptic practices of multi-dosing
10   patients from the same bottle.
11             46.   Plaintiffs reasonably relied upon the skill and judgment of Product Defect Defendants
12   as to whether the propofol as packaged and sold was safe and fit for all its intended and foreseeable
13   uses as anesthesia in an endoscopy surgery center.
14             47.   Contrary to such implied warranty, the larger propofol vials as packaged were not
15   safe or fit for their intended use as anesthesia in an endoscopy center, and were and are unreasonably
16   dangerous and unfit for use as anesthesia in a high-volume endoscopy surgery center because of the
17   foreseeable misuse of treating patients from the same larger propofol vial.
18             48.   As a direct and proximate result of the tortious conduct of Defendants SICOR,
19   BAXTER, and McKESSON alleged herein, Plaintiffs have incurred special damages in the form of
20   medical expense as well as emotional distress, anxiety, and fear during the pendency of their test
21   results and for some time after, all to their damage in an amount in excess of Ten Thousand Dollars
22   ($10,000.00) and the Fifteen Thousand Dollar ($15,000.00) minimum necessary to invoke this
23   Court’s jurisdiction.
24                                      THIRD CLAIM FOR RELIEF
                                                NEGLIGENCE
25                           (As to Teva/Sicor, Baxter and McKesson Defendants)
26             49.   Plaintiffs hereby incorporate by reference all prior paragraphs as though fully set forth
27   herein.
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1            50.     At all times mentioned herein, Defendants knew, or in the exercise of reasonable care
2    should have known, that packaging, marketing, and distributing propofol to high turnover
3    ambulatory clinics, such as the Defendant Clinics, in 50 ml vials, was of such a nature that it was
4    likely to encourage or facilitate multi-dosing (use of one vial on multiple patients), which in turn
5    is/was likely to injure the persons to whom it was given.
6            51.     Defendants owed a duty to Plaintiffs to distribute, market, and package the propofol
7    in safe single use vials that are not conducive to multi-dosing.
8            52.     As a result of Defendants negligent packaging, marketing, and distribution,
9    Defendants breached their duty to Plaintiffs by failing to protect Plaintiffs from foreseeable harm,
10   resulting in the subject Clinics use of the vials of propofol on multiple patients and Plaintiffs’
11   corresponding risk of exposure to infectious diseases.
12           53.     As a direct and proximate result of the tortious conduct of Defendants SICOR,
13   BAXTER, and McKESSON alleged herein, Plaintiffs have incurred special damages in the form of
14   medical expense as well as emotional distress, anxiety, and fear during the pendency of their test
15   results and for some time after, all to their damage in an amount in excess of Ten Thousand Dollars
16   ($10,000.00), and the Fifteen Thousand Dollar ($15,000.00) minimum necessary to invoke this
17   Court’s jurisdiction.
18                                 FOURTH CLAIM FOR RELIEF
                   VIOLATION OF NEVADA DECEPTIVE TRADE PRACTICES ACT
19                       (As to Teva/Sicor, Baxter and McKesson Defendants)
20           54.     Plaintiffs incorporate by reference each and every preceding paragraph as though
21   fully set forth herein, and further allege:
22           55.     The acts of all Defendants described herein also constitute violations of Nevada's
23   Deceptive Trade Practices Act, as codified in NRS Chapter 598, in that Defendants:
24                   a. Knowingly made a false representation as to the characteristics, ingredients, uses,
                        benefits, alterations or quantities of goods or services for sale or lease [NRS
25                      598.0915(5)];
26                   b. Represented that goods or services for sale or lease were of a particular standard,
                        quality or grade, or that such goods were of a particular style or model, where
27                      they knew or should have known that they were of another standard, quality,
                        grade, style or model [NRS 598.0915(7)];
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1                     c. Knowingly made other false representations in a transaction affecting Plaintiffs
                         Rader and others similarly-situated [NRS 598.0915(15)];
2
                      d. Failed to disclose a material fact in connection with the sale or lease of goods or
3                        services [NRS 598.0923(2)].
4            56.      As a direct and proximate result of the tortious conduct of Defendants SICOR,

5    BAXTER, and McKESSON alleged herein, Plaintiffs have incurred special damages in the form of

6    medical expense as well as emotional distress, anxiety, and fear during the pendency of their test

7    results and for some time after, all to their damage in an amount in excess of Ten Thousand Dollars

8    ($10,000.00), and the Fifteen Thousand Dollar ($15,000.00) minimum necessary to invoke this

9    Court’s jurisdiction.

10                                        FIFTH CLAIM FOR RELIEF
                                              PUNITIVE DAMAGES
11                             (As to Teva/Sicor, Baxter and McKesson Defendants)
12           57.      Plaintiffs incorporate by reference each and every preceding paragraph as though

13   fully set forth herein.

14           58.      The conduct of Defendants TEVA/SICOR, BAXTER, and McKESSON in

15   manufacturing, distributing, marketing and/or selling propofol in larger vials to endoscopy surgery

16   centers was willful, reckless, malicious and in total disregard to the health and safety of the patients

17   or, alternatively, was in conscious and deliberate disregard of known safety procedures, thereby

18   justifying an award of punitive damages.

19           59.      Defendants' acts as described herein constitute oppression, fraud or malice (express or

20   implied) as those terms are defined in NRS 42.001, warranting the imposition of punitive damages

21   upon them as permitted under NRS 42.005 and NRS 598.0977, for the sake of example and by way

22   of punishing the Defendants.

23           60.      Plaintiffs herein have had to retain counsel and incur costs by reason of Defendants'

24   tortious conduct alleged herein.

25           WHEREFORE, Plaintiffs pray for Judgment against the Defendants, and each of them jointly

26   and severally, as follows:

27                 1. General damages in excess of $15,000.00 per Plaintiff;

28                 2. Special damages according to proof;


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1            3. Punitive or exemplary damages according to proof;
2            4. Attorneys’ fees;
3            5. Costs of suit incurred herein; and
4            6. For such other and further relief as the Court may deem just and proper.
5                                             GLEN LERNER INJURY ATTORNEYS
6
                                              By:      /s/ Glen J. Lerner
7
                                                     Glen J. Lerner, Esq.
8                                                    Nevada Bar No. 4314
                                                     4795 South Durango Drive
9                                                    Las Vegas, NV 89147
                                                     Attorneys for Plaintiffs
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                    EXHIBIT “B”




                    EXHIBIT “B”
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                                                                   Electronically Filed
                                                                   9/27/2018 8:04 AM
                                                                   Steven D. Grierson
                                                                   CLERK OF THE COURT
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6
                                          DISTRICT COURT
7
                                   CLARK COUNTY, NEVADA
8
     ABADJIAN, SOSSY; ACKERMAN, GLORIA; ADARVE, VIRGINIA;
9    ADLER, FRANCIS; AGUILAR, CARMEN; AGUILAR, NARCISO        CASE NO.: A-18-781820-C
     RENE; ALDER, RHEA; ALLEN, GEORGE; ALLSHOUSE,             DEPT NO.:
10   SOCORRO; ALPY, LINDA; ALVAREZ, JOYCE; ANDERSON,                    Department 4
     REBECCA L.; ANDREI, EMANUEL; ANTLES, TERRIE;             INITIAL APPEARANCE FEE
11   APPLETON-HULTZ,     KELLIE;   ARCHULETA,     ANTHONY;    DISCLOSURE
     ARELLANOS, ESTEBAN; ARIAS, RICKIE; ARKENBURG, MARK;
12   ARRIOLA, ROGER; ARTIGA, MARIA; ASBERRY, ROBIN;
     BABCOCK, WINIFRED; BACH , ROBERT; BACHAND, SUSAN F.;
13   BAGLEY-TENNER, ELAINE; BAL, MELISSA; BALDRIDGE,
     BRYAN; BARBEE, DOROTHY; BARKER, RONALD; BARNCORD,
14   RONALD; BARNES, RUSSELL; BARNHART, PEGGY JO;
     BARRALL, MADALYN; BARTLETT, DONALD; BARTLETT,
15   SHERYLE; BAUDOIN, JOSEPH; BAXTER, BARBARA; BEAMON,
     VENUS; BEATTY, BARBARA ROBIN; BEHLINGS, RODNEY;
16   BEJARAN, CRISTINA; BENEDETTI, TOMAS; BENFORD, VERNA;
     BENKERT, RICHARD; BERGERON , MARSHALL; BERGERON,
17   DONNA; BIVONA, SYLVIA; BLAIR, ROBERT; BLAKELEY,
     HARRY; BLANCHARD, DAWN; BLOSS, BONNIE; BOLAR,
18   DARRELL; BOLDEN, ROY; BOLDEN, SARAH; BOLEN, SCOT;
     BONILLA, VICTOR; BOONE, JOHN; BORRAYES, GRACIELA;
19   BOWEN, BILLY; BOWERS, SHIRLEY; BOWLES, BRIDGET;
     BOYKINS, CATHY; BRADFORD, BRENDA; BRADLEY, SHIRLEY;
20   BRAUER, CARLA; BROWN, CAROLYN; BROWN, JACK; BROWN,
     KENNETH; BROWN, LESLIE; BROWN, MICHAEL; BROWN,
21   ROBERTA; BRUNS, AMELIA B.; BURCHARD, CARL L.; BURKS,
     TRACI; BURTON, ELIZABETH; BUSTAMANTE- RAMIREZ,
22   ANGELITE; BUSTAMANTE, ANASTASIO; BUSTAMANTE,
     MARIO; BUTLER, DOROTHY ANN; CALCATERRA, LEE;
23   CALDERON, ROBERT; CALLAHAN, SHEILA; CAMPBELL,
     EVELYN; CAMPOLO, JOHN; CAMPOS, MARIA; CANACARIS,
24   BOONYUEN;     CANACARIS,    CONSTANTINOS;    CAPANDA,
     MELISSA; CAPERELL, MARTIN; CARDONA, JAIME; CARDONA,
25   PEDRO; CARNEY, SUSIE; CARPENTER, JOHN; CARR, LESTER;
     CARR, TERESA; CARRASCO, BERNARDINO; CARTER, TRUMAN;
26   CASTO, XANDRA; CAUDLE, SPENCE; CAUSEY, MARGARET;
     CEBALLOS, XAVIER; CEDENO, ROBERT; CELANO, HELAYNE;
27   CELANO,    VINCENT;    CENTENO,    DINORA;     CEPEDA,
     GUADALUPE; CHASE, ROY; CHEA, CARIDAD; CHEVEZ, ELSA;
28   CHIGER, MARK; CHILDS, LUCILLE; CIRCLE, DONALD; CLARK,
     ALICIA; CLARK, CAROL; CLARK, PATRICIA; COIRO, RICHARD;


                                                     1
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1    COLLINS, PERCELL       JR.; COMPTON, ROBERT; CONNER,
     ERNEST; COOK, CLIFF; COREY, SUSAN; CORREA, PATRICIA;
2    COULOMBE, PAUL A.; CRAWFORD, AMBER; CROCKER,
     RONALD; CROCKETT, PAMELA; CROSS, HOWARD; CROSSLEY,
3    ROSSLYN; DANIELS, WILLIAM R.; DAVIS, EVELYN; DAVIS,
     MARY JEAN; DAVIS, VIRGINIA A.; DAWSON, JESSIE L.;
4    DELACRUZ, DENISE M.; DELACRUZ, EMELYN; DERAS, SILVIA;
     DEROSE, GREGORY; DEVINE, SHERIDA; DIAMOND, CLAIRE;
5    DIAZ-PEREZ, JOSE; DIPIETRO, MARK; DIXON, OTIS L.; DOLPIES,
     EMILIO; DOMINGO, TAMARA; DOMINGUEZ, PAMELA;
6    DOMKOSKI, EUQENA; DONATO, JOSEPH; DONIS, HUGO;
     DONLEY, PATRICIA L.; DRAGANIC, LJUBICA; DUCK, DELORIS
7    K.; DUHS, KATHLEEN J.; DUNCAN, LILLIAN; DUSYK, HAROLD;
     DYER, ALLYSON R. JR.; EASLEY, LOIS; ECHEVERRIA, DEISY;
8    EDMOND, DONNEDIA D.; ELAURIA, ROLAND E.; ESCALA,
     DARIO E.; ESCALA, ENGARCIA B.; ESCALERA, KATHY A.;
9    ESCOBEDO, MARIA. ESPINOSA,TERESA I.; ESPOSITO, ERNEST
     A.; EVANS, LEON; EVANS, WILLIAM; EVERSOLE, JOHN J.;
10   FAULKNER, MARY; FEINGOLD, ABRAHAM; FEINGOLD,
     MURIEL;    FENNELL,     OSCAR;   FERGUSON,     MARIETTA;
11   FERGUSON, WILLIE; FERRANTE, DANIEL; FICKLIN, CAROLYN;
     FILBECK, JOE; FINEBERG, ETHEL; FINN, MADELINE C.; FITCH,
12   ALBERT L.; FLORES, ADRIAN; FLORES, MARIA; FOLKENFLIK,
     RONALD; FOREMASTER, RAUNA; FOSTER, JOSEPH E.; FOSTER,
13   PHYLLIS G.; FRAZIER, CYNTHIA D.; FREEMAN, VICTORIA;
     FRIEL, LAWRENCE; FRIESEN, BONITA M.; FRILLARTE, NESS;
14   FRISBY, NANCY C.; GAINES, JODI; GALLEGOS, ESPERANZA;
     GALLEGOS, NEOHMI; GARAY, LUIS; GARCIA, BRENDA;
15   GARCIA, MARTHA; GARDNER, SANDRA; GARVEY, MICHAEL;
     GASS, LOIS; GELLENS, JEREMY; GEOGHEGAN, MARION;
16   GEORGE, THERESA; GIANNOPOULOS, TINA; GIANNOPOULOS,
     ARIS; GILBERT, WANDA; GLENN, GREGORY; GOLDEN, JEAN;
17   GOLDEN-LEWIS, TYRA; GOLOB, LUCIANO; GOMEZ; CARRILLO,
     MARGARITO; GONZALES, PASTOR; GONZALEZ-TORRES,
18   JESUS; GORDY, TJ; GOTLIEB, JEFF; GOUDY, ALLEN; GRAHAM,
     ANNETTA; GRATTAN, BILL; GRAY, ARNOLD; GRAY, BONNIE;
19   GREEN, DOROTHY; GREEN, TANIA; GREGORICH, ROY;
     GRESSER, JEFFREY; GRIFFIN, WILLIE; GRIMBLOT, ROBERT;
20   GRIMES, VERNA; GRIMM, CYNTHIA; GRIMM, ROBERT;
     GRONNA,     PATRICK;     GUERETTE,    CARL;    GUEVARA,
21   CANDELARIO; GULLI, NICHOLAS; GUTIERREZ, JULIA;
     HACHEZ, DENISE F.; HADJES, SUE; HAL, ESTHER I.; HALL,
22   FRANK J.; HALL, TINA; HAMBLIN, CHARDAI C.; HAMILTON,
     ROBERT JR.; HANCOCK, DEBORAH; HARO, JESSICA M.;
23   HARPER, JOANN; HARRINGTON, ANNA C.; HARRINGTON,
     MICHAEL S.; HARRIS, DORIS; HARRISON, GLORICE; HARRISON,
24   SHARA;     HARRISON-CARTER,      PATRICIA;   HARSHMAN-
     TALBERT, BRIANNA S.; HARTLEY, RONALD K.; HARWOOD,
25   ROBERT; HAUGEN-RATTAZZI, LINDA K.; HAYASHI, ESTHER A.;
     HAYES, SAMUEL; HEIN, SUSETTE A.; HENDERSON-SHEPHERD,
26   NITA; HENNICK, ROY M.; HENSON, JUANITA; HEREDIA, LUCIA;
     HERNANDEZ, CANDIDO; HERNANDEZ, MARCIAL                 A.;
27   HERNANDEZ, MARIA; HERROLD, THOMAS; HERRON, LUZ;
     HILL, SUSAN M.; HINER, ISHEKA; HOARD, ARLENE; HOBBS,
28   BETH; HOLLIS, MICHELLE; HOLMES, JAQUELINE A.; HOOKER,
     JOSHUA; HOOVER, WILLIE; HOPPINS, PATRICIA; HORVATH,


                                                    2
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1    BELVIA; HORVATH, JAMES; HOSTLER, ANA; HOULE,
     AUGUSTAVE; HOVIETZ, CARL II; HOWARD, RUTH; HOWELL,
2    ROBERT E.; HOWFORD, MICHELE; HUEBNER, EDWARD L.;
     HUGHES, LOVETTE M.; HUNTER, VIRIGINIA M.; HURTADO-
3    MIGUEL, PATRICIA; HWANG, HO NAN; HYYPPA, ANGELA;
     IBARRA, JANETTE; INFUSO, JOSEPH; INTERDONATI, FRANK;
4    IREY, BRIAN; JACKSON, BARRY; JACKSON, CECIL; JACKSON,
     DORA; JARAMILLO, ROLANDO; JILES, RICHARD; JILES, LETHA;
5    JOHNSON, CLIFTON; JOHNSON, DORIS; JOHNSON, EUGENE;
     JOHNSON, JOHNNY; JOHNSON, JOYCE; JOHNSON, WILLIAM;
6    JONES, ARNOLD; KABADAIAN, ANN; KALETA, ANTHONY K.;
     KAPOOR, ARUN; KEELER, LINDA J.; KEELING, SHARON;
7    KELLY, MICHAEL F.; KEYES, RAYANN J.; KIDD , DARRELL;
     KIM, CONNIE; KIM, SOO-OK; KIM, TAESOOK; KIMBERS,
8    SONDRA I.; KINDLER, ELIZABETH I.; KING, IRIS L.; KING,
     LARRY D.; KOCEJA, RAYMOND E.; KOENEN, TRACEY; KOENIG,
9    JOANNA;     KOH,     PATRICK;     KOPANSKI,    MICHAEL;
     KRACHENFELS, MICHAEL J.; KRAMER, CORINNE M.; KROITOR,
10   DAVID; KUNIK, OLGA; KUNZIG, KAREN A.; LAFOUNTAIN,
     ANEITA; LAKE, BARBARA; LAMPMAN, KRYSTAL; LANG,
11   DARSEL; LARSON, JONATHAN; LAUREL, BERTHA; LAURON,
     ANGES G.; LAWSON, MARIE; LEBLANC, PHYLLIS; LEEMAN-
12   ROSS, BETTY J.; LETANG, ARLENE; LEV, JANE; LEWIS, JAMES
     A.; LIEBSCHUTZ, JOAN; LIM, MINERVA L.; LIMES, DEBRA;
13   LINDSEY, EDWARD; LINETSKY, SETH; LISTA, EMILIO D.;
     LITTLE, WILLIAM; LIVINGSTON-STEEL, DOROTHY; LOPEZ,
14   FELISA; LOPEZ, IRAIDA; LOPEZ, MARTHA; LOPEZ, NOE; LOPEZ,
     TONEY E.; LOPRESTO, FRANCINE R.; LUCAS, FLORENCE;
15   LUTHER, DARLENE;        LYLES,   FRANK   L.;   MACLEAN,
     STERPHANIE;     MADRID,     DEBORAH;    MAGILL,    LORI;
16   MAIWAND**, MARWA; MAJOR, DOROTHY J.; MALDONADO,
     MARGUERITE; MALDONADO, MARIO; MALWITZ, IDA;
17   MANUEL, AUDREY; MARES, GABRIEL; MAROHL, ROBERT;
     MARQUEZ, CAROL A.; MARTIGANI, BRENDA; MARTIN LEE,
18   TERRI L.; MARTIN, LEONARD A.; MARTIN, TERRI L.;
     MARTINEZ, HUGO; MARTINEZ, JORGE B.; MARTINEZ, JOSE;
19   MARZULLI, GRACE; MASCARI, MARY LOUISE; MASTRIAN,
     LUCY; MATTI, FATIN; MAYS, LEROY; MAYS, LISA; MCCALL,
20   TERRY;    MCCALL,    VIRGINIA    A.;  MCCLAIN,    LETTA;
     MCCLINTON, ALFRED; MCCRAY, STELLA; MCDANIEL,
21   LAURENCE; MCDAVID, JOHN JR.; MCDONALD, DAVID;
     MCDONNELL, DOLORES; MCGEE, DENISE ANNE; MCKINNEY,
22   MAE; MCKNIGHT, JANET; MCMILLEN, FRED III; MEACHAM,
     MYRON; MEJIA, KELLEY; MEKHJIAN, AIDA A.; MELLOR,
23   CHELSEY L.; MENDOZA, JIGGERSON; MERRELL-CLAPP,
     SUSAN; MIDDAUGH, JAMES; MILBURN, SYLVIA; MILLER,
24   CORINNE;    MITCHELL,     GERALD;    MITCHELL,   JANICE;
     MITCHELL, OLIVER; MIZHIRITSKY, MIKHAIL; MOLITOR, KIRK;
25   MOODY, STEVEN; MOORE, MARY; MORA, JOSE; MORALES,
     YOLANDA;         MORALES;       CASTRO,      ELIZABETH;
26   MORCIGLIO,YOLANDA; MORENO, BIVETTA; MORGAN, DAVID;
     MORGAN, DENISE M.; MORGAN, DOUGLAS; MORGAN, SONIA;
27   MORICI, ANDREW; MORRIS, BARRY; MORRIS, JAMES; MORRIS,
     JUANITA E.; MORSE, MICHELE; MORTENSEN, DAN R.;
28   MOSQUEDA, MIGDALIA; MOTOLA, ANDREA; MUNA, ANNIE;
     MUNGER, JUDITH A.; MUNGUIA, LUCILA; MURANYI, DIANE;


                                                  3
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1    MURRAY, WILLIE; MUSCARA, DIOSELINA; NAGY, JOSEPH;
     NAJARRO, JOSE A.; NAKONECZNY, BONNIE; NANOD, THANG;
2    NATINGA, ERLINDA; NAVARRO-ORTIZ, MARIA; NELSON,
     LEEANNE; NEVINS, DANIEL; NEWELL, LANITA; NOGA, PAUL;
3    NORLIN, ROSEMARIE; NOVOTNY, RONALEE; NYDEN,
     MARSHALL; OBERSHAW, WADE; O'CONNELL, JOSEPH;
4    O'FARRIL, LUCIO F.; O'HALLORAN, SHAWN; OKU, ANDREW;
     OLIVA, DIGNA; O'MARA, JOHN; O'NEAL, NORMA J.; ORCULLO,
5    LINDA; OROZCO-GALAN, PAULA; PACHECO, ANGELA;
     PANKHURST, DENIS; PARATORE, MATT; PARK, ROBERT;
6    PARKINSON, KATHY; PAZOS, JESUS; PEARCE, MARILYN;
     PECCORINI, TERESA; PEDRO, PHYLLIS; PENA, JOSE O.;
7    PEOPLES, PATRICIA; PERDOMO, DELMY C.; PEREZ, DORA;
     PEREZ, LOUISE; PEREZ, LUIS; PEREZ, MARIA; PEREZ,
8    MERCEDES; PEREZ-ROQUE, AGUSTIN; PERRET, ANDRE;
     PERRY, JANET P.; PETERSON, ALAN K.; PHILIP, LOWELL;
9    PHILIP, MICHELLE; PICARD, CRAIG; PINSKER, DONALD;
     PITMAN, JASON B.; PITTMAN, WAYNE; PODROUZEK, JEFF;
10   POLILLO,   ROGER;    POLINSKI,  RON;   PORTER,   JUDY;
     POURTEYMAUR, MOHAMMED; POWERS, DONNA; POWERS,
11   EVA; POWERS, JENNIFER; PRICE, DOUGLAS; PRICE, IVOR;
     PRIETO, JOSE; PRIETO, LUISA; PRUSSIN, ELY; QUINTERO,
12   FRANCISCO; QUIROZ, ANTHONY RAY; RABADAN, MARIBEL;
     RAGAZZO, MARIO; RAMIREZ , ADRIANA; RAMIREZ, JOHN;
13   RAMIREZ, RAUL; RANSOM, EDWARD; RAPOSA, ROBERT;
     RATTAZZI, DEVIN; REDDING, CANTICE M.; REED, KAREN;
14   REYES , HELEN; REYES DE MEDINA, CELIA; REYES, GABRIEL;
     REYES, MIGUEL; RICE, MICHAEL; ROBERSON, LESTER;
15   ROBERTS, BARBARA; ROBINSON, CONSTANCE; ROBINSON,
     LLOYD H.; ROBY, CONNIE; ROCHESTER, ANTOINETTE;
16   RODGERS, VICKI; RODGERS, TREVA; RODRIGUEZ, MARIA;
     RODRIGUEZ, NENITA; RODRIGUEZ, RICARDO; RODRIGUEZ,
17   YOLANDA; RODRIGUEZ-RAMIREZ, JOSE; ROGERS, FREEMAN;
     ROGGENSEE, CAROLE; ROJAS, SONIA; ROMANO, JOSEPH;
18   ROSE, JEAN; RUCKEY, GWENDOLYN; RUSSELL, ROSETTA;
     SADDLER, DEMETRY; SALAS, JANISANN; SALCEDO, MARIA;
19   SALGUERO, FRANCISCO; SANDERS, KERRI; SANDERS, LOVIE;
     SAUNDERS, PAUL; SAUNDERS, SHERRILYN; SAWYER, DANNY;
20   SCHILLING, ISA; SCHLAPPI, SHAUN; SCHROEDER, STEPHEN;
     SCHULMAN, JEFFREY; SEAY, RAY; SENNESS, SANDRA;
21   SERGIO, ANTHONY JR.; SFORZA, MAURICE; SHANKLIN,
     SYLVIA; SHANKS, JULIE; SHEARER, DOUGLAS; SIMKO,
22   SANDRA; SIPPLE, MYRTLE; SKINNER, CHARLES; SLATER,
     JAMES; SLAUGHTER, JACKLYN; SLAUGHTER, JOHN; SLONE,
23   JOHN; SMITH, CATHERINE; SMITH, WILBUR; SNYDER, LILA;
     SOBIESKI, DOLORES; SOCORRO, MICHELLE; SOMMER,
24   WAYNE; SOTO, MARIA; SOUSSANA, VIDANA; SPAINHOUR,
     JULIE; SPANGLER, JESSICA; SPARKS, PATRICIA; SPARKS,
25   SANDRA; SPELLMAN, PATRICIA; STANFORD, JEFFREY;
     STANKARD, WILLIAM; STANLEY, GINGER; STEWART,
26   RODNEY; STOKLOSA, WALTER; STROHECKER, LETICIA;
     STROMGREN, HAROLD; SUDO, MAFALDA; SWAIN, BARBARA;
27   TADEO, NORMA; TARNOWISKI , MIRKA; TARNOWSKI,
     RYSZARD; TASH, ROXANNE E.; TAYLOR, JILL; THIBEAULT,
28   JEANNE; TITUS-PILATE, CATHERINE; TOPPLE, RAYMOND;
     TORIBIO, DOMINGA; TORRES, YADEL; TOWNSLEY, RITA M.;


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1    TRAFTON, ROSELYN; TROMELLO, SALVATORE; TROPP,
     PATRICIA A.; TUCKOSH, DOROTHY; TURNER, LUCY; TURNER,
2    TERRY; TUZINSKI, ROBERT; UNRUH, WILLIAM; VALLS, JESUS;
     VALONE, DIANNE; VANCE, GILBERT; VANDERGAAG,
3    HILLEGONDA; VELEY, HENRY; VILLEGAS, STELLA; VIRGIL,
     LOUIS; VITAL-CEDENO, CECILIA; VOLK, COLLEEN; VORGIAS,
4    CHRIST; WADLOW, WILLIAM; WAGNER, BETTY; WALTERS,
     JOHN; WALTON , JASON; WAMPOLE, JANICE; WARD,
5    BARBARA; WARD, GLORIA; WARIS, SANDRA; WATKINS,
     ELIZABETH; WEDDINGTON, LESTER; WEISNER, ARLENE;
6    WHEELER, KATHRYN; WHITE, DEBRA; WHITE, FRANK E.;
     WHITE, SERENE; WHITE, SHARON; WILKINS, BRIDGET;
7    WILLIAMS, ACE K.; WILLIAMS, ANTHONY; WILLIAMS,
     AUBREY; WILLIAMS, CHARLES; WILLIAMS, CHERYL;
8    WILLIAMS, MARY; WILLIAMS, REALINDA; WILLIAMS, WILLIE;
     WILSON, GARY; WILSON, ROBERT; WILT, STEVEN; WINSLOW,
9    ANGELA; WINTEROWD, BEVERLY; WINTERS, BETTY; WOLF,
     JAMES; WORTHY, DEREK, individually,
10
                           Plaintiffs,
11
            v.
12
     TEVA PARENTERAL MEDICINES, INC., formerly known as SICOR
13   PHARMACEUTICALS, INC.; SICOR, Inc., a Delaware Corporation;
     BAXTER HEALTHCARE CORPORATION, a Delaware Corporation;
14   McKESSON MEDICAL-SURGICAL INC., a Delaware
     Corporation,
15
                           Defendants.
16
                               INITIAL APPEARANCE FEE DISCLOSURE
17
                                         (NRS CHAPTER 19)
18
            Pursuant to NRS Chapter 19, as amended by Senate Bill 106, filing fees are submitted for
19
     parties appearing in the above entitled action as indicated below:
20
            ABADJIAN, SOSSY                                        $270.00
21
            ACKERMAN, GLORIA                                       $ 30.00
22          ADARVE, VIRGINIA                                       $ 30.00
            ADLER, FRANCIS                                         $ 30.00
23          AGUILAR, CARMEN                                        $ 30.00
            AGUILAR, NARCISO RENE                                  $ 30.00
24          ALDER, RHEA                                            $ 30.00
            ALLEN, GEORGE                                          $ 30.00
25
            ALLSHOUSE, SOCORRO                                     $ 30.00
26          ALPY, LINDA                                            $ 30.00
            ALVAREZ, JOYCE                                         $ 30.00
27          ANDERSON, REBECCA L.                                   $ 30.00
            ANDREI, EMANUEL                                        $ 30.00
28          ANTLES, TERRIE                                         $ 30.00


                                                        5
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1         APPLETON-HULTZ, KELLIE                   $   30.00
          ARCHULETA, ANTHONY                       $   30.00
2
          ARELLANOS, ESTEBAN                       $   30.00
3         ARIAS, RICKIE                            $   30.00
          ARKENBURG, MARK                          $   30.00
4         ARRIOLA, ROGER                           $   30.00
          ARTIGA, MARIA                            $   30.00
5         ASBERRY, ROBIN                           $   30.00
          BABCOCK, WINIFRED                        $   30.00
6
          BACH, ROBERT                             $   30.00
7         BACHAND, SUSAN F.                        $   30.00
          BAGLEY-TENNER, ELAINE                    $   30.00
8         BAL, MELISSA                             $   30.00
          BALDRIDGE, BRYAN                         $   30.00
9         BARBEE, DOROTHY                          $   30.00
          BARKER, RONALD                           $   30.00
10
          BARNCORD, RONALD                         $   30.00
11        BARNES, RUSSELL                          $   30.00
          BARNHART, PEGGY JO                       $   30.00
12        BARRALL, MADALYN                         $   30.00
          BARTLETT, DONALD                         $   30.00
13        BARTLETT, SHERYLE                        $   30.00
          BAUDOIN, JOSEPH                          $   30.00
14
          BAXTER, BARBARA                          $   30.00
15        BEAMON, VENUS                            $   30.00
          BEATTY, BARBARA ROBIN                    $   30.00
16        BEHLINGS, RODNEY                         $   30.00
          BEJARAN, CRISTINA                        $   30.00
17        BENEDETTI, TOMAS                         $   30.00
          BENFORD, VERNA                           $   30.00
18
          BENKERT, RICHARD                         $   30.00
19        BERGERON, MARSHALL                       $   30.00
          BERGERON, DONNA                          $   30.00
20        BIVONA, SYLVIA                           $   30.00
          BLAIR, ROBERT                            $   30.00
21        BLAKELEY, HARRY                          $   30.00
22
          BLANCHARD, DAWN                          $   30.00
          BLOSS, BONNIE                            $   30.00
23        BOLAR, DARRELL                           $   30.00
          BOLDEN, ROY                              $   30.00
24        BOLDEN, SARAH                            $   30.00
          BOLEN, SCOT                              $   30.00
25
          BONILLA, VICTOR                          $   30.00
26
          BOONE, JOHN                              $   30.00
          BORRAYES, GRACIELA                       $   30.00
27        BOWEN, BILLY                             $   30.00
          BOWERS, SHIRLEY                          $   30.00
28        BOWLES, BRIDGET                          $   30.00


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1         BOYKINS, CATHY                           $   30.00
          BRADFORD, BRENDA                         $   30.00
2
          BRADLEY, SHIRLEY                         $   30.00
3         BRAUER, CARLA                            $   30.00
          BROWN, CAROLYN                           $   30.00
4         BROWN, JACK                              $   30.00
          BROWN, KENNETH                           $   30.00
5         BROWN, LESLIE                            $   30.00
          BROWN, MICHAEL                           $   30.00
6
          BROWN, ROBERTA                           $   30.00
7         BRUNS, AMELIA B.                         $   30.00
          BURCHARD, CARL L.                        $   30.00
8         BURKS, TRACI                             $   30.00
          BURTON, ELIZABETH                        $   30.00
9         BUSTAMANTE- RAMIREZ, ANGELITE            $   30.00
          BUSTAMANTE, ANASTASIO                    $   30.00
10
          BUSTAMANTE, MARIO                        $   30.00
11        BUTLER, DOROTHY ANN                      $   30.00
          CALCATERRA, LEE                          $   30.00
12        CALDERON, ROBERT                         $   30.00
          CALLAHAN, SHEILA                         $   30.00
13        CAMPBELL, EVELYN                         $   30.00
          CAMPOLO, JOHN                            $   30.00
14
          CAMPOS, MARIA                            $   30.00
15        CANACARIS, BOONYUEN                      $   30.00
          CANACARIS, CONSTANTINOS                  $   30.00
16        CAPANDA, MELISSA                         $   30.00
          CAPERELL, MARTIN                         $   30.00
17        CARDONA, JAIME                           $   30.00
          CARDONA, PEDRO                           $   30.00
18
          CARNEY, SUSIE                            $   30.00
19        CARPENTER, JOHN                          $   30.00
          CARR, LESTER                             $   30.00
20        CARR, TERESA                             $   30.00
          CARRASCO, BERNARDINO                     $   30.00
21        CARTER, TRUMAN                           $   30.00
22
          CASTO, XANDRA                            $   30.00
          CAUDLE, SPENCE                           $   30.00
23        CAUSEY, MARGARET                         $   30.00
          CEBALLOS, XAVIER                         $   30.00
24        CEDENO, ROBERT                           $   30.00
          CELANO, HELAYNE                          $   30.00
25
          CELANO, VINCENT                          $   30.00
26
          CENTENO, DINORA                          $   30.00
          CEPEDA, GUADALUPE                        $   30.00
27        CHASE, ROY                               $   30.00
          CHEA, CARIDAD                            $   30.00
28        CHEVEZ, ELSA                             $   30.00


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1         CHIGER, MARK                             $   30.00
          CHILDS, LUCILLE                          $   30.00
2
          CIRCLE, DONALD                           $   30.00
3         CLARK, ALICIA                            $   30.00
          CLARK, CAROL                             $   30.00
4         CLARK, PATRICIA                          $   30.00
          COIRO, RICHARD                           $   30.00
5         COLLINS, PERCELL JR.                     $   30.00
          COMPTON, ROBERT                          $   30.00
6
          CONNER, ERNEST                           $   30.00
7         COOK, CLIFF                              $   30.00
          COREY, SUSAN                             $   30.00
8         CORREA, PATRICIA                         $   30.00
          COULOMBE, PAUL A.                        $   30.00
9         CRAWFORD, AMBER                          $   30.00
          CROCKER, RONALD                          $   30.00
10
          CROCKETT, PAMELA                         $   30.00
11        CROSS, HOWARD                            $   30.00
          CROSSLEY, ROSSLYN                        $   30.00
12        DANIELS, WILLIAM R.                      $   30.00
          DAVIS, EVELYN                            $   30.00
13        DAVIS, MARY JEAN                         $   30.00
          DAVIS, VIRGINIA A.                       $   30.00
14
          DAWSON, JESSIE L.                        $   30.00
15        DELACRUZ, DENISE M                       $   30.00
          DELACRUZ, EMELYN                         $   30.00
16        DERAS, SILVIA                            $   30.00
          DEROSE, GREGORY                          $   30.00
17        DEVINE, SHERIDA                          $   30.00
          DIAMOND, CLAIRE                          $   30.00
18
          DIAZ-PEREZ, JOSE                         $   30.00
19        DIPIETRO, MARK                           $   30.00
          DIXON, OTIS L.                           $   30.00
20        DOLPIES, EMILIO                          $   30.00
          DOMINGO, TAMARA                          $   30.00
21        DOMINGUEZ, PAMELA                        $   30.00
22
          DOMKOSKI, EUQENA                         $   30.00
          DONATO, JOSEPH                           $   30.00
23        DONIS, HUGO                              $   30.00
          DONLEY, PATRICIA L.                      $   30.00
24        DRAGANIC, LJUBICA                        $   30.00
          DUCK, DELORIS K.                         $   30.00
25
          DUHS, KATHLEEN J.                        $   30.00
26
          DUNCAN, LILLIAN                          $   30.00
          DUSYK, HAROLD                            $   30.00
27        DYER, ALLYSON R. JR.                     $   30.00
          EASLEY, LOIS                             $   30.00
28        ECHEVERRIA, DEISY                        $   30.00


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1         EDMOND, DONNEDIA D.                      $   30.00
          ELAURIA, ROLAND E.                       $   30.00
2
          ESCALA, DARIO E.                         $   30.00
3         ESCALA, ENGARCIA B.                      $   30.00
          ESCALERA, KATHY A.                       $   30.00
4         ESCOBEDO, MARIA                          $   30.00
          ESPINOSA, TERESA I.                      $   30.00
5         ESPOSITO, ERNEST A.                      $   30.00
          EVANS, LEON                              $   30.00
6
          EVANS, WILLIAM                           $   30.00
7         EVERSOLE, JOHN J.                        $   30.00
          FAULKNER, MARY                           $   30.00
8         FEINGOLD, ABRAHAM                        $   30.00
          FEINGOLD, MURIEL                         $   30.00
9         FENNELL, OSCAR                           $   30.00
          FERGUSON, MARIETTA                       $   30.00
10
          FERGUSON, WILLIE                         $   30.00
11        FERRANTE, DANIEL                         $   30.00
          FICKLIN, CAROLYN                         $   30.00
12        FILBECK, JOE                             $   30.00
          FINEBERG, ETHEL                          $   30.00
13        FINN, MADELINE C.                        $   30.00
          FITCH, ALBERT L                          $   30.00
14
          FLORES, ADRIAN                           $   30.00
15        FLORES, MARIA                            $   30.00
          FOLKENFLIK, RONALD                       $   30.00
16        FOREMASTER, RAUNA                        $   30.00
          FOSTER, JOSEPH E                         $   30.00
17        FOSTER, PHYLLIS G.                       $   30.00
          FRAZIER, CYNTHIA D.                      $   30.00
18
          FREEMAN, VICTORIA                        $   30.00
19        FRIEL, LAWRENCE                          $   30.00
          FRIESEN, BONITA M.                       $   30.00
20        FRILLARTE, NESS                          $   30.00
          FRISBY, NANCY C.                         $   30.00
21        GAINES, JODI                             $   30.00
22
          GALLEGOS, ESPERANZA                      $   30.00
          GALLEGOS, NEOHMI                         $   30.00
23        GARAY, LUIS                              $   30.00
          GARCIA, BRENDA                           $   30.00
24        GARCIA, MARTHA                           $   30.00
          GARDNER, SANDRA                          $   30.00
25
          GARVEY, MICHAEL                          $   30.00
26
          GASS, LOIS                               $   30.00
          GELLENS, JEREMY                          $   30.00
27        GEOGHEGAN, MARION                        $   30.00
          GEORGE, THERESA                          $   30.00
28        GIANNOPOULOS, TINA                       $   30.00


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1         GIANNOPOULOS, ARIS                       $   30.00
          GILBERT, WANDA                           $   30.00
2
          GLENN, GREGORY                           $   30.00
3         GOLDEN, JEAN                             $   30.00
          GOLDEN-LEWIS, TYRA                       $   30.00
4         GOLOB, LUCIANO                           $   30.00
          GOMEZ-CARRILLO, MARGARITO                $   30.00
5         GONZALES, PASTOR                         $   30.00
          GONZALEZ-TORRES, JESUS                   $   30.00
6
          GORDY, TJ                                $   30.00
7         GOTLIEB, JEFF                            $   30.00
          GOUDY, ALLEN                             $   30.00
8         GRAHAM, ANNETTA                          $   30.00
          GRATTAN, BILL                            $   30.00
9         GRAY, ARNOLD                             $   30.00
          GRAY, BONNIE                             $   30.00
10
          GREEN, DOROTHY                           $   30.00
11        GREEN, TANIA                             $   30.00
          GREGORICH, ROY                           $   30.00
12        GRESSER, JEFFREY                         $   30.00
          GRIFFIN, WILLIE                          $   30.00
13        GRIMBLOT, ROBERT                         $   30.00
          GRIMES, VERNA                            $   30.00
14
          GRIMM, CYNTHIA                           $   30.00
15        GRIMM, ROBERT                            $   30.00
          GRONNA, PATRICK                          $   30.00
16        GUERETTE, CARL                           $   30.00
          GUEVARA, CANDELARIO                      $   30.00
17        GULLI, NICHOLAS                          $   30.00
          GUTIERREZ, JULIA                         $   30.00
18
          HACHEZ, DENISE F                         $   30.00
19        HADJES, SUE                              $   30.00
          HAL, ESTHER I                            $   30.00
20        HALL, FRANK J                            $   30.00
          HALL, TINA                               $   30.00
21        HAMBLIN, CHARDAI C.                      $   30.00
22
          HAMILTON, ROBERT JR.                     $   30.00
          HANCOCK, DEBORAH                         $   30.00
23        HARO, JESSICA M.                         $   30.00
          HARPER, JOANN                            $   30.00
24        HARRINGTON, ANNA C.                      $   30.00
          HARRINGTON, MICHAEL S.                   $   30.00
25
          HARRIS, DORIS                            $   30.00
26
          HARRISON, GLORICE                        $   30.00
          HARRISON, SHARA                          $   30.00
27        HARRISON-CARTER, PATRICIA                $   30.00
          HARSHMAN-TALBERT, BRIANNA S.             $   30.00
28        HARTLEY, RONALD K                        $   30.00


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1         HARWOOD, ROBERT                          $   30.00
          HAUGEN-RATTAZZI, LINDA K                 $   30.00
2
          HAYASHI, ESTHER A                        $   30.00
3         HAYES, SAMUEL                            $   30.00
          HEIN, SUSETTE A                          $   30.00
4         HENDERSON-SHEPHERD, NITA                 $   30.00
          HENNICK, ROY M                           $   30.00
5         HENSON, JUANITA                          $   30.00
          HEREDIA, LUCIA                           $   30.00
6
          HERNANDEZ, CANDIDO                       $   30.00
7         HERNANDEZ, MARCIAL A.                    $   30.00
          HERNANDEZ, MARIA                         $   30.00
8         HERROLD, THOMAS                          $   30.00
          HERRON, LUZ                              $   30.00
9         HILL, SUSAN M.                           $   30.00
          HINER, ISHEKA                            $   30.00
10
          HOARD, ARLENE                            $   30.00
11        HOBBS, BETH                              $   30.00
          HOLLIS, MICHELLE                         $   30.00
12        HOLMES, JAQUELINE A                      $   30.00
          HOOKER, JOSHUA                           $   30.00
13        HOOVER, WILLIE                           $   30.00
          HOPPINS, PATRICIA                        $   30.00
14
          HORVATH, BELVIA                          $   30.00
15        HORVATH, JAMES                           $   30.00
          HOSTLER, ANA                             $   30.00
16        HOULE, AUGUSTAVE                         $   30.00
          HOVIETZ, CARL II                         $   30.00
17        HOWARD, RUTH                             $   30.00
          HOWELL, ROBERT E                         $   30.00
18
          HOWFORD, MICHELE                         $   30.00
19        HUEBNER, EDWARD L.                       $   30.00
          HUGHES, LOVETTE M                        $   30.00
20        HUNTER, VIRIGINIA M                      $   30.00
          HURTADO-MIGUEL, PATRICIA                 $   30.00
21        HWANG, HO NAN                            $   30.00
22
          HYYPPA, ANGELA                           $   30.00
          IBARRA, JANETTE                          $   30.00
23        INFUSO, JOSEPH                           $   30.00
          INTERDONATI, FRANK                       $   30.00
24        IREY, BRIAN                              $   30.00
          JACKSON, BARRY                           $   30.00
25
          JACKSON, CECIL                           $   30.00
26
          JACKSON, DORA                            $   30.00
          JARAMILLO, ROLANDO                       $   30.00
27        JILES, RICHARD                           $   30.00
          JILES, LETHA                             $   30.00
28        JOHNSON, CLIFTON                         $   30.00


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1         JOHNSON, DORIS                           $   30.00
          JOHNSON, EUGENE                          $   30.00
2
          JOHNSON, JOHNNY                          $   30.00
3         JOHNSON, JOYCE                           $   30.00
          JOHNSON, WILLIAM                         $   30.00
4         JONES, ARNOLD                            $   30.00
          KABADAIAN, ANN                           $   30.00
5         KALETA, ANTHONY K.                       $   30.00
          KAPOOR, ARUN                             $   30.00
6
          KEELER, LINDA J.                         $   30.00
7         KEELING, SHARON                          $   30.00
          KELLY, MICHAEL F.                        $   30.00
8         KEYES, RAYANN J                          $   30.00
          KIDD, DARRELL                            $   30.00
9         KIM, CONNIE                              $   30.00
          KIM, SOO-OK                              $   30.00
10
          KIM, TAESOOK                             $   30.00
11        KIMBERS, SONDRA I.                       $   30.00
          KINDLER, ELIZABETH I                     $   30.00
12        KING, IRIS L                             $   30.00
          KING, LARRY D.                           $   30.00
13        KOCEJA, RAYMOND E                        $   30.00
          KOENEN, TRACEY                           $   30.00
14
          KOENIG, JOANNA                           $   30.00
15        KOH, PATRICK                             $   30.00
          KOPANSKI, MICHAEL                        $   30.00
16        KRACHENFELS, MICHAEL J.                  $   30.00
          KRAMER, CORINNE M.                       $   30.00
17        KROITOR, DAVID                           $   30.00
          KUNIK, OLGA                              $   30.00
18
          KUNZIG, KAREN A.                         $   30.00
19        LAFOUNTAIN, ANEITA                       $   30.00
          LAKE, BARBARA                            $   30.00
20        LAMPMAN, KRYSTAL                         $   30.00
          LANG, DARSEL                             $   30.00
21        LARSON, JONATHAN                         $   30.00
22
          LAUREL, BERTHA                           $   30.00
          LAURON, ANGES G .                        $   30.00
23        LAWSON, MARIE                            $   30.00
          LEBLANC, PHYLLIS                         $   30.00
24        LEEMAN-ROSS, BETTY J.                    $   30.00
          LETANG, ARLENE                           $   30.00
25
          LEV, JANE                                $   30.00
26
          LEWIS, JAMES A.                          $   30.00
          LIEBSCHUTZ, JOAN                         $   30.00
27        LIM, MINERVA L.                          $   30.00
          LIMES, DEBRA                             $   30.00
28        LINDSEY, EDWARD                          $   30.00


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1         LINETSKY, SETH                           $   30.00
          LISTA, EMILIO D.                         $   30.00
2
          LITTLE, WILLIAM                          $   30.00
3         LIVINGSTON-STEEL, DOROTHY                $   30.00
          LOPEZ, FELISA                            $   30.00
4         LOPEZ, IRAIDA                            $   30.00
          LOPEZ, MARTHA                            $   30.00
5         LOPEZ, NOE                               $   30.00
          LOPEZ, TONEY E.                          $   30.00
6
          LOPRESTO, FRANCINE R.                    $   30.00
7         LUCAS, FLORENCE                          $   30.00
          LUTHER, DARLENE                          $   30.00
8         LYLES, FRANK L.                          $   30.00
          MACLEAN, STERPHANIE                      $   30.00
9         MADRID, DEBORAH                          $   30.00
          MAGILL, LORI                             $   30.00
10
          MAIWAND**, MARWA                         $   30.00
11        MAJOR, DOROTHY J.                        $   30.00
          MALDONADO, MARGUERITE                    $   30.00
12        MALDONADO, MARIO                         $   30.00
          MALWITZ, IDA                             $   30.00
13        MANUEL, AUDREY                           $   30.00
          MARES, GABRIEL                           $   30.00
14
          MAROHL, ROBERT                           $   30.00
15        MARQUEZ, CAROL A.                        $   30.00
          MARTIGANI, BRENDA                        $   30.00
16        MARTIN LEE, TERRI L.                     $   30.00
          MARTIN, LEONARD A.                       $   30.00
17        MARTIN, TERRI L.                         $   30.00
          MARTINEZ, HUGO                           $   30.00
18
          MARTINEZ, JORGE B.                       $   30.00
19        MARTINEZ, JOSE                           $   30.00
          MARZULLI, GRACE                          $   30.00
20        MASCARI, MARY LOUISE                     $   30.00
          MASTRIAN, LUCY                           $   30.00
21        MATTI, FATIN                             $   30.00
22
          MAYS, LEROY                              $   30.00
          MAYS, LISA                               $   30.00
23        MCCALL, TERRY                            $   30.00
          MCCALL, VIRGINIA A.                      $   30.00
24        MCCLAIN, LETTA                           $   30.00
          MCCLINTON, ALFRED                        $   30.00
25
          MCCRAY, STELLA                           $   30.00
26
          MCDANIEL, LAURENCE                       $   30.00
          MCDAVID, JOHN JR.                        $   30.00
27        MCDONALD, DAVID                          $   30.00
          MCDONNELL, DOLORES                       $   30.00
28        MCGEE, DENISE ANNE                       $   30.00


                                           13
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1         MCKINNEY, MAE                            $   30.00
          MCKNIGHT, JANET                          $   30.00
2
          MCMILLEN, FRED III                       $   30.00
3         MEACHAM, MYRON                           $   30.00
          MEJIA, KELLEY                            $   30.00
4         MEKHJIAN, AIDA A.                        $   30.00
          MELLOR, CHELSEY L                        $   30.00
5         MENDOZA, JIGGERSON                       $   30.00
          MERRELL-CLAPP, SUSAN                     $   30.00
6
          MIDDAUGH, JAMES                          $   30.00
7         MILBURN, SYLVIA                          $   30.00
          MILLER, CORINNE                          $   30.00
8         MITCHELL, GERALD                         $   30.00
          MITCHELL, JANICE                         $   30.00
9         MITCHELL, OLIVER                         $   30.00
          MIZHIRITSKY, MIKHAIL                     $   30.00
10
          MOLITOR, KIRK                            $   30.00
11        MOODY, STEVEN                            $   30.00
          MOORE, MARY                              $   30.00
12        MORA, JOSE                               $   30.00
          MORALES, YOLANDA                         $   30.00
13        MORALES-CASTRO, ELIZABETH                $   30.00
          MORCIGLIO, YOLANDA                       $   30.00
14
          MORENO, BIVETTA                          $   30.00
15        MORGAN, DAVID                            $   30.00
          MORGAN, DENISE M                         $   30.00
16        MORGAN, DOUGLAS                          $   30.00
          MORGAN, SONIA                            $   30.00
17        MORICI, ANDREW                           $   30.00
          MORRIS, BARRY                            $   30.00
18
          MORRIS, JAMES                            $   30.00
19        MORRIS, JUANITA E.                       $   30.00
          MORSE, MICHELE                           $   30.00
20        MORTENSEN, DAN R                         $   30.00
          MOSQUEDA, MIGDALIA                       $   30.00
21        MOTOLA, ANDREA                           $   30.00
22
          MUNA, ANNIE                              $   30.00
          MUNGER, JUDITH A.                        $   30.00
23        MUNGUIA, LUCILA                          $   30.00
          MURANYI, DIANE                           $   30.00
24        MURRAY, WILLIE                           $   30.00
          MUSCARA, DIOSELINA                       $   30.00
25
          NAGY, JOSEPH                             $   30.00
26
          NAJARRO, JOSE A.                         $   30.00
          NAKONECZNY, BONNIE                       $   30.00
27        NANOD, THANG                             $   30.00
          NATINGA, ERLINDA                         $   30.00
28        NAVARRO-ORTIZ, MARIA                     $   30.00


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1         NELSON, LEEANNE                          $   30.00
          NEVINS, DANIEL                           $   30.00
2
          NEWELL, LANITA                           $   30.00
3         NOGA, PAUL                               $   30.00
          NORLIN, ROSEMARIE                        $   30.00
4         NOVOTNY, RONALEE                         $   30.00
          NYDEN, MARSHALL                          $   30.00
5         OBERSHAW, WADE                           $   30.00
          O'CONNELL, JOSEPH                        $   30.00
6
          O'FARRIL, LUCIO F.                       $   30.00
7         O'HALLORAN, SHAWN                        $   30.00
          OKU, ANDREW                              $   30.00
8         OLIVA, DIGNA                             $   30.00
          O'MARA, JOHN                             $   30.00
9         O'NEAL, NORMA J.                         $   30.00
          ORCULLO, LINDA                           $   30.00
10
          OROZCO-GALAN, PAULA                      $   30.00
11        PACHECO, ANGELA                          $   30.00
          PANKHURST, DENIS                         $   30.00
12        PARATORE, MATT                           $   30.00
          PARK, ROBERT                             $   30.00
13        PARKINSON, KATHY                         $   30.00
          PAZOS, JESUS                             $   30.00
14
          PEARCE, MARILYN                          $   30.00
15        PECCORINI, TERESA                        $   30.00
          PEDRO, PHYLLIS                           $   30.00
16        PENA, JOSE O.                            $   30.00
          PEOPLES, PATRICIA                        $   30.00
17        PERDOMO, DELMY C.                        $   30.00
          PEREZ, DORA                              $   30.00
18
          PEREZ, LOUISE                            $   30.00
19        PEREZ, LUIS                              $   30.00
          PEREZ, MARIA                             $   30.00
20        PEREZ, MERCEDES                          $   30.00
          PEREZ-ROQUE, AGUSTIN                     $   30.00
21        PERRET, ANDRE                            $   30.00
22
          PERRY, JANET P.                          $   30.00
          PETERSON, ALAN K                         $   30.00
23        PHILIP, LOWELL                           $   30.00
          PHILIP, MICHELLE                         $   30.00
24        PICARD, CRAIG                            $   30.00
          PINSKER, DONALD                          $   30.00
25
          PITMAN, JASON B.                         $   30.00
26
          PITTMAN, WAYNE                           $   30.00
          PODROUZEK, JEFF                          $   30.00
27        POLILLO, ROGER                           $   30.00
          POLINSKI, RON                            $   30.00
28        PORTER, JUDY                             $   30.00


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1         POURTEYMAUR, MOHAMMED                    $   30.00
          POWERS, DONNA                            $   30.00
2
          POWERS, EVA                              $   30.00
3         POWERS, JENNIFER                         $   30.00
          PRICE, DOUGLAS                           $   30.00
4         PRICE, IVOR                              $   30.00
          PRIETO, JOSE                             $   30.00
5         PRIETO, LUISA                            $   30.00
          PRUSSIN, ELY                             $   30.00
6
          QUINTERO, FRANCISCO                      $   30.00
7         QUIROZ, ANTHONY RAY                      $   30.00
          RABADAN, MARIBEL                         $   30.00
8         RAGAZZO, MARIO                           $   30.00
          RAMIREZ, ADRIANA                         $   30.00
9         RAMIREZ, JOHN                            $   30.00
          RAMIREZ, RAUL                            $   30.00
10
          RANSOM, EDWARD                           $   30.00
11        RAPOSA, ROBERT                           $   30.00
          RATTAZZI, DEVIN                          $   30.00
12        REDDING, CANTICE M.                      $   30.00
          REED, KAREN                              $   30.00
13        REYES, HELEN                             $   30.00
          REYES DE MEDINA, CELIA                   $   30.00
14
          REYES, GABRIEL                           $   30.00
15        REYES, MIGUEL                            $   30.00
          RICE, MICHAEL                            $   30.00
16        ROBERSON, LESTER                         $   30.00
          ROBERTS, BARBARA                         $   30.00
17        ROBINSON, CONSTANCE                      $   30.00
          ROBINSON, LLOYD H.                       $   30.00
18
          ROBY, CONNIE                             $   30.00
19        ROCHESTER, ANTOINETTE                    $   30.00
          RODGER, VICKI                            $   30.00
20        RODGERS, TREVA                           $   30.00
          RODRIGUEZ, MARIA                         $   30.00
21        RODRIGUEZ, NENITA                        $   30.00
22
          RODRIGUEZ, RICARDO                       $   30.00
          RODRIGUEZ, YOLANDA                       $   30.00
23        RODRIGUEZ-RAMIREZ, JOSE                  $   30.00
          ROGERS, FREEMAN                          $   30.00
24        ROGGENSEE, CAROLE                        $   30.00
          ROJAS, SONIA                             $   30.00
25
          ROMANO, JOSEPH                           $   30.00
26
          ROSE, JEAN                               $   30.00
          RUCKEY, GWENDOLYN                        $   30.00
27        RUSSELL, ROSETTA                         $   30.00
          SADDLER, DEMETRY                         $   30.00
28        SALAS, JANISANN                          $   30.00


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1         SALCEDO, MARIA                           $   30.00
          SALGUERO, FRANCISCO                      $   30.00
2
          SANDERS, KERRI                           $   30.00
3         SANDERS, LOVIE                           $   30.00
          SAUNDERS, PAUL                           $   30.00
4         SAUNDERS, SHERRILYN                      $   30.00
          SAWYER, DANNY                            $   30.00
5         SCHILLING, ISA                           $   30.00
          SCHLAPPI, SHAUN                          $   30.00
6
          SCHROEDER, STEPHEN                       $   30.00
7         SCHULMAN, JEFFREY                        $   30.00
          SEAY, RAY                                $   30.00
8         SENNESS, SANDRA                          $   30.00
          SERGIO, ANTHONY JR.                      $   30.00
9         SFORZA, MAURICE                          $   30.00
          SHANKLIN, SYLVIA                         $   30.00
10
          SHANKS, JULIE                            $   30.00
11        SHEARER, DOUGLAS                         $   30.00
          SIMKO, SANDRA                            $   30.00
12        SIPPLE, MYRTLE                           $   30.00
          SKINNER, CHARLES                         $   30.00
13        SLATER, JAMES                            $   30.00
          SLAUGHTER, JACKLYN                       $   30.00
14
          SLAUGHTER, JOHN                          $   30.00
15        SLONE, JOHN                              $   30.00
          SMITH, CATHERINE                         $   30.00
16        SMITH, WILBUR                            $   30.00
          SNYDER, LILA                             $   30.00
17        SOBIESKI, DOLORES                        $   30.00
          SOCORRO, MICHELLE                        $   30.00
18
          SOMMER, WAYNE                            $   30.00
19        SOTO, MARIA                              $   30.00
          SOUSSANA, VIDANA                         $   30.00
20        SPAINHOUR, JULIE                         $   30.00
          SPANGLER, JESSICA                        $   30.00
21        SPARKS, PATRICIA                         $   30.00
22
          SPARKS, SANDRA                           $   30.00
          SPELLMAN, PATRICIA                       $   30.00
23        STANFORD, JEFFREY                        $   30.00
          STANKARD, WILLIAM                        $   30.00
24        STANLEY, GINGER                          $   30.00
          STEWART, RODNEY                          $   30.00
25
          STOKLOSA, WALTER                         $   30.00
26
          STROHECKER, LETICIA                      $   30.00
          STROMGREN, HAROLD                        $   30.00
27        SUDO, MAFALDA                            $   30.00
          SWAIN, BARBARA                           $   30.00
28        TADEO, NORMA                             $   30.00


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1         TARNOWISKI, MIRKA                        $   30.00
          TARNOWSKI, RYSZARD                       $   30.00
2
          TASH, ROXANNE E.                         $   30.00
3         TAYLOR, JILL                             $   30.00
          THIBEAULT, JEANNE                        $   30.00
4         TITUS-PILATE, CATHERINE                  $   30.00
          TOPPLE, RAYMOND                          $   30.00
5         TORIBIO, DOMINGA                         $   30.00
          TORRES, YADEL                            $   30.00
6
          TOWNSLEY, RITA M.                        $   30.00
7         TRAFTON, ROSELYN                         $   30.00
          TROMELLO, SALVATORE                      $   30.00
8         TROP, PATRICIA A.                        $   30.00
          TUCKOSH, DOROTHY                         $   30.00
9         TURNER, LUCY                             $   30.00
          TURNER, TERRY                            $   30.00
10
          TUZINSKI, ROBERT                         $   30.00
11        UNRUH, WILLIAM                           $   30.00
          VALLS, JESUS                             $   30.00
12        VALONE, DIANNE                           $   30.00
          VANCE, GILBERT                           $   30.00
13        VANDERGAAG, HILLEGONDA                   $   30.00
          VELEY, HENRY                             $   30.00
14
          VILLEGAS, STELLA                         $   30.00
15        VIRGIL, LOUIS                            $   30.00
          VITAL-CEDENO, CECILIA                    $   30.00
16        VOLK, COLLEEN                            $   30.00
          VORGIAS, CHRIST                          $   30.00
17        WADLOW, WILLIAM                          $   30.00
          WAGNER, BETTY                            $   30.00
18
          WALTERS, JOHN                            $   30.00
19        WALTON, JASON                            $   30.00
          WAMPOLE, JANICE                          $   30.00
20        WARD, BARBARA                            $   30.00
          WARD, GLORIA                             $   30.00
21        WARIS, SANDRA                            $   30.00
22
          WATKINS, ELIZABETH                       $   30.00
          WEDDINGTON, LESTER                       $   30.00
23        WEISNER, ARLENE                          $   30.00
          WHEELER, KATHRYN                         $   30.00
24        WHITE, DEBRA                             $   30.00
          WHITE, FRANK E.                          $   30.00
25
          WHITE, SERENE                            $   30.00
26
          WHITE, SHARON                            $   30.00
          WILKINS, BRIDGET                         $   30.00
27        WILLIAMS, ACE K.                         $   30.00
          WILLIAMS, ANTHONY                        $   30.00
28        WILLIAMS, AUBREY                         $   30.00


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     Case 2:18-cv-02321-JCM-NJK Document 1 Filed 12/10/18 Page 52 of 58



1         WILLIAMS, CHARLES                           $   30.00
          WILLIAMS, CHERYL                            $   30.00
2
          WILLIAMS, MARY                              $   30.00
3         WILLIAMS, REALINDA                          $   30.00
          WILLIAMS, WILLIE                            $   30.00
4         WILSON, GARY                                $   30.00
          WILSON, ROBERT                              $   30.00
5         WILT, STEVEN                                $   30.00
          WINSLOW, ANGELA                             $   30.00
6
          WINTEROWD, BEVERLY                          $   30.00
7         WINTERS, BETTY                              $   30.00
          WOLF, JAMES                                 $   30.00
8         WORTHY, DEREK                               $   30.00

9         TOTAL REMITTED:                             $19,800.00
10                                     GLEN LERNER INJURY ATTORNEYS
11
                                       By:     /s/ Glen J. Lerner
12                                           Glen J. Lerner, Esq.
13
                                             Nevada Bar No.
                                             4795 South Durango Drive
14                                           Las Vegas, NV 89147
                                             Attorneys for Plaintiff
15

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                    EXHIBIT “C”




                    EXHIBIT “C”
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                                                         REGISTER OF ACTIONS
                                                              CASE NO. A-18-781820-C

Sossy Abadjian, Plaintiff(s) vs. Teva Parenteral Medicines Inc, Defendant §                          Case Type:     Product Liability
(s)                                                                       §                           Date Filed:   09/27/2018
                                                                          §                            Location:    Department 4
                                                                          §        Cross-Reference Case Number:     A781820
                                                                          §
                                                                          §


                                                              RELATED CASE INFORMATION

Related Cases
 A-18-781820-C-P1 (Large Case - Subcase)
 A-18-781820-C-P2 (Large Case - Subcase)
 A-18-781820-C-P3 (Large Case - Subcase)


                                                                 PARTY INFORMATION

                                                                                                                          Lead Attorneys
Defendant      Baxter Healthcare Corporation


Defendant      McKesson Medical-Surgical Inc


Defendant      Sicor Inc


Defendant      Teva Parenteral Medicines Inc


Plaintiff      All Plaintiffs A781820 Abadjian,                                                                           Glen J Lerner
               Sossy Ackerman, Gloria Adarve,                                                                              Retained
               Virginia Adler, Francis Adler, Rhea Aguilar,                                                               7028771500(W)
               Carmen Aguilar, Narcisco Rene Allen,
               George Allshouse, Socorro Alpy,
               Linda Alvarez, Joyce Anderson, Rebecca
               L Andrei, Emanuel Antles, Terrie Appleton-
               Hultz, Kellie Archuleta, Anthony Arellanos,
               Esteban Arias, Rickie Arkenburg,
               Mark Arriola, Roger Artiga, Maria Asberry,
               Robin Babcock, Winifred Bach,
               Robert Bachand, Susan F Bagley-Tenner,
               Elaine Bal, Melissa Baldridge,
               Brian Barbee, Dorothy Barker,
               Ronald Barncord, Ronald Barnes,
               Russell Barnhart, Peggy Jo Barrall,
               Madalyn Bartlett, Donald Bartlett,
               Sheryle Baudoin, Joseph Baxter,
               Barbara Beamon, Venus Beatty, Barbara
               Robin Behlings, Rodney Bejaran,
               Cristina Benedetti, Thomas Benford,
               Verna Benkert, Richard Bergeron,
               Donna Bergeron, Marshall Bivona,
               Sylvia Blair, Robert Blakeley,
               Harry Blanchard, Dawn Bloss,
               Bonnie Bolar, Darrell Bolden, Roy Bolden,
               Sarah Bolen, Scot Bonilla, Victor Boone,
               John Borrayes, Graciela Bowen,
               Billy Bowers, Shirley Bowles,
               Bridget Boykins, Cathy Bradford,
               Brenda Bradley, Shirley Brauer,
               Carla Brown, Carolyn Brown, Jack Brown,
               Kenneth Brown, Leslie Brown,
               Michael Brown, Roberta Bruns, Amelia
               B Burchard, Carl L Burks, Traci Burton,
               Elizabeth Bustamante,
               Anastasio Bustamante, Mario Bustamante-
               Ramirez, Angelite Butler, Dorothy
               Ann Calcaterra, Lee Calderon,
               Robert Callahan, Sheila Campbell,
               Evelyn Campolo, John Campos,
               Maria Canacaris, Boonyuen Canacaris,
               Constantinos Capanda, Melissa Caperell,
               Martin Cardona, Jaime Cardona,
               Pedro Carney, Susie Carpenter, John Carr,
               Lester Carr, Teresa Carrasco,
               Bernardino Carter, Truman Casto,
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Xandra Caudle, Spence Causey,
Margaret Ceballos, Xavier Cedeno,
Robert Celano, Helayne Celano,
Vincent Centeno, Dinora Cepeda,
Guadalupe Chase, Roy Chea,
Caridad Chevez, Elsa Chiger, Mark Childs,
Lucille Circle, Donald Clark, Alicia Clark,
Carol Clark, Patricia Coiro,
Richard Collins, Percell Compton,
Robert Conner, Ernest Cook, Cliff Corey,
Susan Correa, Patricia Coulombe, Paul
A Crawford, Amber Crocker,
Ronald Crockett, Pamela Cross,
Howard Crossley, Rosslyn Daniels, William
R Davis, Evelyn Davis, Mary Jean Davis,
Virginia A Dawson, Jessie L Delacruz,
Denise M Delacruz, Emelyn Deras,
Silvia Derose, Gregory Devine,
Sherida Diamond, Claire Diaz-Perez,
Jose Dipietro, Mark Dixon, Otis L Dolpies,
Emilio Domingo, Tamara Dominguez,
Pamela Domkoski, Euqena Donato,
Joseph Donis, Hugo Donley, Patricia
L Draganic, Ljubica Duck, Deloris K Duhs,
Kathleen J Duncan, Lillian Dusyk,
Harold Dyer, Allyson R Easley,
Lois Echeverria, Deisy Edmond, Donnedia
D Elauria, Roland E Escala, Dario E Escala,
Engarcia B Escalera, Kathy A Escobedo,
Maria Espinosa, Teresa I Esposito, Ernest
A Evans, Leon Evans, Williams Eversole,
John J Faulkner, Mary Feingold,
Abraham Feingold, Muriel Fennell,
Oscar Ferguson, Murietta Ferguson,
Willie Ferrante, Daniel Ficklin,
Carolyn Filbeck, Joe Fineberg, Ethel Finn,
Madeline C Fitch, Albert L Flores,
Adrian Flores, Maria Folkenflik,
Ronald Foremaster, Rauna Foster, Joseph
E Foster, Phyllis G Frazier, Cynthia
D Freeman, Victoria Friel,
Lawrence Friesen, Bonita M Frillarte,
Ness Frisby, Nancy C Gaines,
Jodi Gallegos, Esperanza Gallegos,
Neohmi Garay, Luis Garcia, Brenda Garcia,
Martha Gardner, Sandra Garvey,
Michael Gass, Lois Gellens,
Jeremy Geoghegan, Marion George,
Theresa Giannopoulos, Aris Giannopoulos,
Tina Gilbert, Wanda Glenn,
Gregory Golden, Jean Golden-Lewis,
Tyra Golob, Luciano Gomez-Carrillo,
Margarito Gonzales, Pastor Gonzalez-
Torres, Jesus Gordy, TJ Gotlieb,
Jeff Goudy, Allen Graham,
Annetta Grattan, Bill Gray, Arnold Gray,
Bonnie Green, Dorothy Green,
Tania Gregorich, Roy Gresser,
Jeffrey Griffin, Willie Grimblot,
Robert Grimes, Verna Grimm,
Cynthia Grimm, Robert Gronna,
Patrick Guerette, Carl Guevara,
Candelario Gulli, Nicholas Gutierrez,
Julia Hachez, Denise F Hadjes, Sue Hal,
Esther I Hall, Frank J Hall, Tina Hamblin,
Chardai C Hamilton, Robert Hancock,
Deborah Haro, Jessica M Harper,
Joann Harrington, Anna C Harrington,
Michael S Harris, Dorris Harrison,
Glorice Harrison, Shara Harrison-Carter,
Patricia Harshman-Talbert, Brianna
S Hartley, Ronald K Harwood,
Robert Haugen-Rattazzi, Linda K Hayashi,
Esther A Hayes, Samuel Hein, Susette
A Henderson-Shepherd, Nita Hennick, Roy
M Henson, Juanita Heredia,
Lucia Hernandez, Candido Hernandez,
Marcial A Hernandez, Maria Herrold,
Thomas Herron, Luz Hill, Susan M Hiner,
Isheka Hoard, Arlene Hobbs, Beth Hollis,
Michelle Holmes, Jaqueline A Hooker,
Joshua Hoover, Willie Hoppins,
Patricia Horvath, Belvia Horvath,
James Hostler, Anna Houle,
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Augustave Hovietz, Carl Howard,
Ruth Howell, Robert E Howford,
Michelle Huebner, Edward L Hughes,
Lovette M Hunter, Virginia M Hurtado-
Miguel, Patricia Hwang, Ho Nan Hyyppa,
Angela Ibarra, Janette Infuso,
Joseph Interdonati, Frank Irey,
Brian Jackson, Barry Jackson,
Cecil Jackson, Dora Jaramillo,
Rolando Jiles, Letha Jiles,
Richard Johnson, Clifton Johnson,
Doris Johnson, Eugene Johnson,
Johnny Johnson, Joyce Johnson,
William Jones, Arnold Kabadaian,
Ann Kaleta, Anthony K Kapoor,
Arun Keeler, Linda J Keeling,
Sharon Kelly, Michael F Keyes, Rayann
J Kidd, Darrell Kim, Connie Kim, Soo-
ok Kim, Taesook Kimbers, Sondra
I Kindler, Elizabeth I King, Iris L King,
Larry D Koceja, Raymond E Koenen,
Tracey Koenig, Joanna Koh,
Patrick Kopanski, Michael Krachenfels,
Michael J Kramer, Corinne M Kroitor,
David Kunik, Olga Kunzig, Karen
A LaFountain, Aneita Lake,
Barbara Lampman, Krystal Lang,
Darsel Larson, Jonathan Laurel,
Bertha Lauron, Anges G Lawson,
Marie LeBlanc, Phyllis Leeman-Ross, Betty
J LeTang, Arlene Lev, Jane Lewis, James
A Liebschutz, Joan Lim, Minerva L Limes,
Debra Lindsey, Edward Linetsky,
Seth Lista, Emilio D Little,
William Livingston-Steel, Dorothy Lopez,
Felisa Lopez, Iraida Lopez, Martha Lopez,
Noe Lopez, Toney E LoPresto, Francine
R Lucas, Florence Luther, Darlene Lyles,
Frank L Maclean, Sterphanie Madrid,
Deborah Magill, Lori Maiwand,
Marwa Major, Dorothy J Maldonado,
Marguerite Maldonado, Mario Malwitz,
Ida Manuel, Audrey Mares, Gabriel Marohl,
Robert Marquez, Carol A Martigani,
Brenada Martin Lee, Terri L Martin, Leonard
A Martin, Terri A Martinez, Hugo Martinez,
Jorge B Martinez, Jose Marzulli,
Grace Mascari, Mary Louise Mastrian,
Lucy Matti, Fatin Mays, Leroy Mays,
Lisa McCall, Terry McCall, Virginia
A McClain, Letta McClinton,
Alfred McCray, Stella McDaniel,
Laurence McDavid, John McDonald,
David McDonnell, Dolores McGee, Denise
Anne McKinney, Mae McKnight,
Janet McMillen, Fred Meacham,
Myron Mejia, Kelley Mekhijian, Aida
A Mellor, Chelsey L Mendoza,
Jiggerson Merrell-Clapp, Susan Middaugh,
James Milburn, Sylvia Miller,
Corinne Mitchell, Gerald Mitchell,
Janice Mitchell, Oliver Mizhiritsky,
Mikhail Molitor, Kirk Moody, Steven Moore,
Mary Mora, Jose Morales,
Yolanda Morales-Castro,
Elizabeth MorCiglio, Yolanda Moreno,
Bivetta Moretensen, Dan R Morgan,
David Morgan, Denise M Morgan,
Douglas Morgan, Sonia Morici,
Andrew Morris, Barry Morris,
James Morris, Juanita E Morse,
Michele Mosqueda, Migdalia Motola,
Andrea Muna, Annie Munger, Judith
A Munguia, Lucila Muranyi, Diane Murray,
Willie Muscara, Dioselina Nagy,
Joseph Najarro, Jose A Nakoneczny,
Bonnie Nanod, Thang Natinga,
Erlinda Navarro-Ortiz, Maria Nelson,
LeeAnne Nevins, Daniel Newell,
Lanita Noga, Paul Norlin,
Rosemarie Novotny, Ronalee Nyden,
Marshall O'Connell, Joseph O'Farril, Lucio
F O'Halloran, Shawn O'Mara, John O'Neal,
Norma J Obershaw, Wade Oku,
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Andrew Oliva, Digna Orcullo,
Linda Orozco-Galan, Paula Pacheco,
Angela Pankhurst, Denis Paratore,
Matt Park, Robert Parkinson, Kathy Pazos,
Jesus Pearce, Marilyn Peccorini,
Teresa Pedro, Phyllis Pena, Jose
O Peoples, Patricia Perdomo, Delmy
C Perez, Dora Perez, Louise Perez,
Luis Perez, Maria Perez, Mercedes Perez-
Roque, Agustin Perret, Andre Perry, Janet
P Peterson, Alan K Philip, Lowell Philip,
Michelle Picard, Craig Pinsker,
Donald Pitman, Jason B Pittman,
Wayne Podrouzek, Jeff Polillo,
Roger Polinski, Ron Porter,
Judy Pourteymaur, Mohammed Powers,
Donna Powers, Eva Powers,
Jennifer Price, Douglas Price, Ivor Prieto,
Jose Prieto, Luisa Prussin, Ely Quintero,
Francisco Quiroz, Anthony Ray Rabadan,
Maribel Ragazzo, Mario Ramirez,
Adriana Ramirez, John Ramirez,
Raul Ransom, Edward Raposa,
Robert Rattazzi, Devin Redding, Cantice
M Reed, Karen Reyes De Medina,
Celia Reyes, Gabriel Reyes, Helen Reyes,
Miguel Rice, Michael Roberson,
Lester Roberts, Barbara Robinson,
Constance Robinson, Lloyd H Roby,
Connie Rochester, Antoinette Rodgers,
Treva Rodgers, Vicki Rodriguez,
Maria Rodriguez, Nenita Rodriguez,
Ricardo Rodriguez, Yolanda Rodriguez-
Ramirez, Jose Rogers,
Freeman Roggensee, Carole Rojas,
Sonia Romano, Joseph Rose,
Jean Ruckey, Gwendolyn Russell,
Rosetta Saddler, Demetry Salas,
Janisann Salcedo, Maria Salguero,
Francisco Sanders, Kerri Sanders,
Lovie Saunders, Paul Saunders,
Sherrilyn Sawyer, Danny Schilling,
Isa Schlappi, Shaun Schroeder,
Stephen Schulman, Jeffrey Seay,
Ray Senness, Sandra Sergio,
Anthony Sforza, Maurice Shanklin,
Sylvia Shanks, Julie Shearer,
Douglas Simko, Sandra Sipple,
Myrtle Skinner, Charles Slater,
James Slaughter, Jacklyn Slaughter,
John Slone, John Smith, Catherine Smith,
Wilbur Snyder, Lila Sobieski,
Dolores Socorro, Michelle Sommer,
Wayne Soto, Maria Soussana,
Vidana Spainhour, Julie Spangler,
Jessica Sparks, Patricia Sparks,
Sandra Spellman, Patricia Stanford,
Jeffrey Stankard, Williams Stanley,
Ginger Stewart, Rodney Stoklosa,
Walter Strohecker, Leticia Stromgren,
Harold Sudo, Mafalda Swain,
Barbara Tadeo, Norma Tarnowiski,
Mirka Tarnowski, Ryszard Tash, Roxanne
E Taylor, Jill Thibeault, Jeanne Titus-
Pilate, Catherine Topple, Raymond Toribio,
Dominga Torres, Yadel Townsley, Rita
M Trafton, Roselyn Tromello,
Salvatore Tropp, Patricia A Tuckosh,
Dorothy Turner, Lucy Turner,
Terry Tuzinski, Robert Unruh,
William Valls, Jesus Valone, Dianne Vance,
Gilbert Vandergaag, Hillegonda Veley,
Henry Villegas, Stella Virgil, Louis Vital-
Cedeno, Cecilia Volk, Colleen Vorgias,
Christ Wadlow, William Wagner,
Betty Walters, John Walton,
Jason Wampole, Janice Ward,
Barbara Ward, Gloria Waris,
Sandra Watkins, Elizabeth Weddington,
Lester Weisner, Arlene Wheeler,
Kathryn White, Debra White, Frank
E White, Serene White, Sharon Wilkins,
Bridget Williams, Ace K Williams,
Anthony Williams, Aubrey Williams,
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             Charles Williams, Cheryl Williams,
             Mary Williams, Realinda Williams,
             Willie Wilson, Gary Wilson, Robert Wilt,
             Steven Winslow, Angela Winterowd,
             Beverly Winters, Betty Wolf,
             James Worthy, Derek


                                                         EVENTS & ORDERS OF THE COURT

           OTHER EVENTS AND HEARINGS
09/27/2018 Complaint
             Complaint
09/27/2018 Initial Appearance Fee Disclosure
             Initial Appearance Fee Disclsoure
10/02/2018 Summons Electronically Issued - Service Pending
             Summons
10/02/2018 Summons Electronically Issued - Service Pending
             Summons
10/02/2018 Summons Electronically Issued - Service Pending
             Summons
10/02/2018 Summons Electronically Issued - Service Pending
             Summons


                                                             FINANCIAL INFORMATION



           Plaintiff All Plaintiffs A781820
           Total Financial Assessment                                                                   19,800.00
           Total Payments and Credits                                                                   19,800.00
           Balance Due as of 12/10/2018                                                                      0.00

09/27/2018 Transaction Assessment                                                                        19,800.00
09/27/2018 Efile Payment              Receipt # 2018-64744-CCCLK                     Abadjian, Sossy   (19,800.00)
